Case 2:20-cv-08819-CBM-AS Document 82 Filed 08/13/21 Page 1 of 41 Page ID #:24650


     1 JESSICA STEBBINS BINA (BAR NO. 248485)
     2 jessica.stebbinsbina@lw.com
       ELYSE M. GREENWALD (BAR NO. 268050)
     3 elyse.greenwald@lw.com
     4 LATHAM & WATKINS LLP
       10250 Constellation Boulevard
     5 Suite 1100
     6 Los Angeles, CA 90067
       Tel: 424.653.5525
     7 Fax: 424.653.5501
     8
       Attorneys for Plaintiffs
     9
    10 [Additional Counsel Listed on the Next Page]
    11                    UNITED STATES DISTRICT COURT
    12                   CENTRAL DISTRICT OF CALIFORNIA
    13
                                               CASE NO. 2:20-cv-8819-CBM-AS
    14   COSTAR GROUP, INC., and
         COSTAR REALTY
    15   INFORMATION,                          COSTAR’S NOTICE OF MOTION
         INC.,                                 AND MOTION TO DISMISS CREXi’S
    16
                       Plaintiffs,             COUNTERCLAIMS;
    17                                         MEMORANDUM OF POINTS AND
              v.                               AUTHORITIES
    18
         COMMERCIAL REAL ESTATE
    19   EXCHANGE, INC.,                       Date:          November 2, 2021
                                               Time:          10:00 a.m.
    20                 Defendant.              Courtroom:     8B
    21                                         Before:        Hon. Consuelo B. Marshall

    22                                         Trial Date: None Set
         COMMERCIAL REAL ESTATE
    23   EXCHANGE, INC.,
    24                 Counterclaimant,
    25        v.
    26   COSTAR GROUP, INC., AND
         COSTAR REALTY INFORMATION,
    27   INC.,
    28                 Counterdefendants.
                                                                         CASE NO. 2:20-cv-8819-CBM-AS
                                                          COSTAR’S NOTICE OF MOTION AND MOTION TO
                                                      DISMISS CREXi’S COUNTERCLAIMS; MEMORANDUM
                                                                         OF POINTS AND AUTHORITIES
Case 2:20-cv-08819-CBM-AS Document 82 Filed 08/13/21 Page 2 of 41 Page ID #:24651


     1 BELINDA LEE (BAR NO. 199635)
     2 belinda.lee@lw.com
       LATHAM & WATKINS LLP
     3 505 Montgomery Street
     4 Suite 2000
       San Francisco, CA 94111
     5 Tel: 415.391.0600
     6
       NICHOLAS J. BOYLE*
     7 nicholas.boyle@lw.com
     8 SARAH A. TOMKOWIAK*
       sarah.tomkowiak@lw.com
     9 LATHAM & WATKINS LLP
    10 555 Eleventh Street, NW
       Suite 1000
    11 Washington, D.C. 20004
    12 Tel: 202.637.2200
       Fax: 202.637.2201
    13
    14 Attorneys for Plaintiffs
    15 * Admitted pro hac vice
    16
    17
    18
    19
    20
    21
    22
    23
    24
    25
    26
    27
    28
                                                                        CASE NO. 2:20-cv-8819-CBM-AS
                                                         COSTAR’S NOTICE OF MOTION AND MOTION TO
                                                     DISMISS CREXi’S COUNTERCLAIMS; MEMORANDUM
                                                                        OF POINTS AND AUTHORITIES
Case 2:20-cv-08819-CBM-AS Document 82 Filed 08/13/21 Page 3 of 41 Page ID #:24652


     1 TO DEFENDANT AND ITS ATTORNEYS OF RECORD:
     2         PLEASE TAKE NOTICE that on November 2, 2021, at 10:00 AM, or as soon
     3 thereafter as this matter can be heard, in the courtroom of the Honorable Consuelo
     4 B. Marshall, located at the First Street Courthouse, 350 W. 1st Street, Los Angeles,
     5 CA 90012, Courtroom 8B, Plaintiffs CoStar Group, Inc., and CoStar Realty
     6 Information, Inc. (collectively “CoStar”) will move for an order pursuant to Federal
     7 Rule of Civil Procedure 12(b)(6) dismissing with prejudice all of Defendant
     8 Commercial Real Estate Exchange, Inc.’s (“CREXi”) Counterclaims (Dkt. 74),
     9 including CREXi’s antitrust claims brought under Sections 1 and 2 of the Sherman
    10 Act and California’s Cartwright Act; its claims for false advertising and trademark
    11 infringement under the Lanham Act; its state law claims for false advertising, and
    12 unfair and unlawful competition; and its request for declaratory relief. This Motion
    13 is made on the following grounds:
    14         1.    CREXi’s monopolization and attempted monopolization claims
    15 brought under Section 2 of the Sherman Act should be dismissed because CREXi
    16 has not alleged that CoStar has engaged in any actionable exclusionary conduct. See
    17 Verizon Commc’ns Inc. v. Law Offs. of Curtis V. Trinko, LLP, 540 U.S. 398, 407
    18 (2004) (requiring “an element of anticompetitive conduct” to state monopolization
    19 claims).
    20         2.    CREXi’s claims for “exclusionary contracts” under Section 1 of the
    21 Sherman Act and the Cartwright Act should be dismissed because CREXi fails to
    22 plausibly plead any exclusive arrangement between CoStar and its customers or that
    23 CoStar’s supposedly exclusive agreements have foreclosed a substantial share of any
    24 relevant market. See FTC v. Qualcomm Inc., 969 F.3d 974, 1003 (9th Cir. 2020);
    25 Allied Orthopedic Appliances Inc. v. Tyco Health Care Grp. LP, 592 F.3d 991, 996
    26 (9th Cir. 2010).
    27         3.    All of CREXi’s antitrust claims (whether brought under Section 1,
    28 Section 2, or the Cartwright Act) should also be dismissed because CREXi has failed
                                                   1                        CASE NO. 2:20-cv-8819-CBM-AS
                                                             COSTAR’S NOTICE OF MOTION AND MOTION TO
                                                         DISMISS CREXi’S COUNTERCLAIMS; MEMORANDUM
                                                                            OF POINTS AND AUTHORITIES
Case 2:20-cv-08819-CBM-AS Document 82 Filed 08/13/21 Page 4 of 41 Page ID #:24653


     1 to sufficiently plead that CoStar has market power in any relevant antitrust market.
     2 CREXi’s alleged unidentified “individual metropolitan areas” is too vague to state a
     3 plausible geographic market. See Tanaka v. Univ. of S. Cal., 252 F.3d 1059, 1063
     4 (9th Cir. 2001). And, its allegations that CoStar is “dominant in an overwhelming
     5 majority” of some unknown “metropolitan areas” is too conclusory to plead market
     6 power. See Rick-Mik Enters., Inc. v. Equilon Enters. LLC, 532 F.3d 963, 972 (9th
     7 Cir. 2008).
     8         4.    CREXi’s false advertising claims under the Lanham Act and California
     9 law should be dismissed because CREXi fails to allege that (i) CoStar made any
    10 false statement; (ii) CoStar’s ads actually deceived or had a tendency to deceive
    11 reasonable consumers; or (iii) CoStar’s ads actually influenced any consumer’s
    12 purchasing decision. See Toyota Motor Sales, U.S.A., Inc. v. Tabari, 610 F.3d 1171,
    13 1179 (9th Cir. 2010); Novation Ventures, LLC v. J.G. Wentworth Co., 2015 WL
    14 12765467, at *7-8 (C.D. Cal. Sept. 21, 2015).
    15         5.    CREXi’s claim for trademark infringement under the Lanham Act also
    16 should be dismissed because CREXi has not plausibly pled a likelihood of consumer
    17 confusion stemming from CoStar’s alleged use of CREXi’s trademark in its Google
    18 AdWord ads for its auction platform, Ten-X. See Network Automation, Inc. v.
    19 Advanced Sys. Concepts, Inc., 638 F.3d 1137, ,1144 (9th Cir. 2011). Even if
    20 CREXi’s allegations were plausible, they would concern potential “initial interest”
    21 confusion that does not result in a diverted sale, and thus should provide no basis for
    22 relief. See Playboy Enters., Inc. v. Netscape Commc’ns Corp., 354 F.3d 1020, 1030
    23 & n.43 (9th Cir. 2004).
    24         6.    CREXi’s claims of unfair and unlawful competition under California
    25 Business & Professional Code § 17200 are derivative of its antitrust, false
    26 advertising, and trademark claims and fail for the same reasons. See ThermoLife
    27 Int’l, LLC v. Am. Fitness Wholesalers, L.L.C., 831 F. App’x 325, 326 (9th Cir. 2020);
    28 Cullen v. Netflix, Inc., 880 F. Supp. 2d 1017, 1028 (N.D. Cal. 2012).
                                                    2                         CASE NO. 2:20-cv-8819-CBM-AS
                                                               COSTAR’S NOTICE OF MOTION AND MOTION TO
                                                           DISMISS CREXi’S COUNTERCLAIMS; MEMORANDUM
                                                                              OF POINTS AND AUTHORITIES
Case 2:20-cv-08819-CBM-AS Document 82 Filed 08/13/21 Page 5 of 41 Page ID #:24654


     1         7.    Finally, CREXi’s request for a declaratory judgment that it is lawful for
     2 it to access CoStar’s websites should be dismissed because it simply repackages
     3 legal issues that CREXi and CoStar are already litigating. See Englewood Lending
     4 Inc. v. G & G Coachella Invs., LLC, 651 F. Supp. 2d 1141, 1145 (C.D. Cal. 2009).
     5 This claim should also be dismissed because this Court has already rejected CREXi’s
     6 argument that it is entitled to access CoStar’s websites, see Dkt. 71, and CoStar has
     7 no legal obligation to allow CREXi to access its products.
     8         This Motion is based on this Notice of Motion and Motion to Dismiss, the
     9 accompanying Memorandum of Points and Authorities, CREXi’s Counterclaims,
    10 the Court’s record on this matter, the arguments of counsel, and other evidence and
    11 argument that may be presented prior to the Court’s decision on this Motion.
    12         Compliance with Local Rule 7-3. This Motion is made following the
    13 conference of counsel pursuant to L.R. 7-3 which took place on August 6, 2021. The
    14 parties were unable to resolve the issues raised by this Motion.
    15                                          Respectfully submitted,
    16   Dated: August 13, 2021                 LATHAM & WATKINS LLP
    17                                          By: /s/ Jessica Stebbins Bina
                                                   (Bar No. 248485)
    18
                                                    Elyse M. Greenwald
    19                                              (Bar No. 268050)
                                                    10250 Constellation Boulevard
    20                                              Suite 1100
                                                    Los Angeles, CA 90067
    21                                              Tel: 424.653.5525
                                                    Fax: 424.653.5501
    22                                              Email: jessica.stebbinsbina@lw.com
                                                           elyse.greenwald@lw.com
    23
                                                    Belinda S Lee (Bar. No. 199635)
    24                                              505 Montgomery Street
                                                    Suite 2000
    25                                              San Francisco, CA 94111
                                                    Tel: 415.391.0600
    26                                              Fax: 415.395.8095
                                                    Email: belinda.lee@lw.com
    27
                                                    Nicholas J. Boyle
    28                                              (admitted pro hac vice)
                                                    3                         CASE NO. 2:20-cv-8819-CBM-AS
                                                               COSTAR’S NOTICE OF MOTION AND MOTION TO
                                                           DISMISS CREXi’S COUNTERCLAIMS; MEMORANDUM
                                                                              OF POINTS AND AUTHORITIES
Case 2:20-cv-08819-CBM-AS Document 82 Filed 08/13/21 Page 6 of 41 Page ID #:24655


     1                                         Sarah A. Tomkowiak
                                               (admitted pro hac vice)
     2                                         555 Eleventh Street, NW
                                               Suite 1000
     3                                         Washington, D.C. 20004
                                               Tel: 202.637.2200
     4                                         Fax: 202.637.2201
                                               Email: nicholas.boyle@lw.com
     5                                                sarah.tomkowiak@lw.com
     6                                      Counsel for CoStar Group, Inc., and
                                            CoStar Realty Information, Inc.
     7
     8
     9
    10
    11
    12
    13
    14
    15
    16
    17
    18
    19
    20
    21
    22
    23
    24
    25
    26
    27
    28
                                               4                        CASE NO. 2:20-cv-8819-CBM-AS
                                                         COSTAR’S NOTICE OF MOTION AND MOTION TO
                                                     DISMISS CREXi’S COUNTERCLAIMS; MEMORANDUM
                                                                        OF POINTS AND AUTHORITIES
Case 2:20-cv-08819-CBM-AS Document 82 Filed 08/13/21 Page 7 of 41 Page ID #:24656


     1                                            TABLE OF CONTENTS
     2 INTRODUCTION .................................................................................................... 1
     3 LEGAL STANDARD .............................................................................................. 3
       CREXI’S ALLEGATIONS ...................................................................................... 3
     4
       ARGUMENT ............................................................................................................ 5
     5 I.  THE COURT SHOULD DISMISS CREXI’S ANTITRUST
           CLAIMS ......................................................................................................... 5
     6
           A.   CREXi Fails To Plead Exclusionary Conduct To Support
     7          A Monopolization Or Attempted Monopolization Claim ................... 6
                1.      CoStar’s Supposed Refusal To Deal With CREXi
     8                  Is Not Actionable Under The Antitrust Laws ........................... 6
     9          2.      CoStar’s Agreements With Brokers Are, On Their
                        Face, Not “Exclusionary” .......................................................... 9
    10          3.      CoStar’s Alleged Trademark Infringement Is Not
                        Actionable Under the Sherman Act ......................................... 12
    11
           B.   CREXi Fails To Allege Any Claim Under Section 1 Or
    12          The Cartwright Act ............................................................................ 13
           C.   CREXi’s Antitrust Claims Should Also Be Dismissed
    13          Because CREXi Does Not Plausibly Allege That CoStar
                Has Market Power.............................................................................. 14
    14
                1.      CREXi Does Not Allege A Plausible Geographic
    15                  Market ...................................................................................... 15
                2.      CREXi Also Has Not Plausibly Alleged That
    16                  CoStar Has Market Power ....................................................... 16
    17 II. THE COURT SHOULD DISMISS CREXI’S REMAINING
           CLAIMS ....................................................................................................... 18
    18     A.   CREXi Has Not Pled A Claim For False Advertising Or
                Trademark Infringement .................................................................... 18
    19
                1.      CREXi Fails To State Claim For False Advertising
    20                  Under The Lanham Act ........................................................... 18
                2.      CREXi Fails To State A Claim For False
    21                  Advertising Under California Law .......................................... 19
    22          3.      CREXi Fails To Plead A Trademark Infringement
                        Claim........................................................................................ 20
    23     B.   CREXi’s Unfair And Unlawful Competition Claims Fail
                Too ..................................................................................................... 24
    24
           C.   CREXi Is Not Entitled To A Declaratory Judgement ....................... 25
    25 CONCLUSION....................................................................................................... 25
    26
    27
    28
                                                                       i                          CASE NO. 2:20-cv-8819-CBM-AS
                                                                                   COSTAR’S NOTICE OF MOTION AND MOTION TO
                                                                               DISMISS CREXi’S COUNTERCLAIMS; MEMORANDUM
                                                                                                  OF POINTS AND AUTHORITIES
Case 2:20-cv-08819-CBM-AS Document 82 Filed 08/13/21 Page 8 of 41 Page ID #:24657


     1
                                              TABLE OF AUTHORITIES
     2
     3                                                                                                            Page(s)

     4                                                        CASES
     5 1-800 Contacts, Inc. v. Lens.com, Inc.,
     6    755 F. Supp. 2d 1151 (D. Utah 2010), aff’d in part, rev’d in part
          on other grounds, 722 F.3d 1229 (10th Cir. 2013) ............................................ 13
     7
       Aerotec Int’l, Inc. v. Honeywell Int’l, Inc.,
     8
          836 F.3d 1171 (9th Cir. 2016) ...................................................................... 10, 12
     9
       AK Metals, LLC v. Norman Indus. Materials, Inc.,
    10    2013 WL 417323 (S.D. Cal. Jan. 31, 2013) ....................................................... 24
    11
       Aleksick v. 7-Eleven, Inc.,
    12    205 Cal. App. 4th 1176 (2012) ........................................................................... 24
    13 Allied Orthopedic Appliances Inc. v. Tyco Health Care Grp. LP,
    14    592 F.3d 991 (9th Cir. 2010) .............................................................................. 14
    15 Alzheimer’s Disease & Related Disorders Ass’n, Inc. v. Alzheimer’s
          Found. of Am., Inc.,
    16
          307 F. Supp. 3d 260 (S.D.N.Y. 2018) ................................................................ 13
    17
       American Professional Testing Service, Inc. v. Harcourt Brace
    18    Jovanovich Legal & Professional Publications, Inc.,
    19    108 F.3d 1147 (9th Cir. 1997) ...................................................................... 12, 13
    20 AMF, Inc. v. Sleekcraft Boats,
    21   599 F.2d 341 (9th Cir. 1979) .............................................................................. 21

    22 Ashcroft v. Iqbal,
          556 U.S. 662 (2009) ............................................................................................. 3
    23
    24 Aspen Skiing Co. v. Aspen Highlands Skiing Corp.,
          472 U.S. 585 (1985) ............................................................................................. 8
    25
       Au-Tomotive Gold, Inc. v. Volkswagen of Am., Inc.,
    26    457 F.3d 1062 (9th Cir. 2006) ............................................................................ 22
    27
       Bell Atl. Corp. v. Twombly,
    28    550 U.S. 544 (2007) ............................................................................................. 3
                                                                     ii                          CASE NO. 2:20-cv-8819-CBM-AS
                                                                                  COSTAR’S NOTICE OF MOTION AND MOTION TO
                                                                              DISMISS CREXi’S COUNTERCLAIMS; MEMORANDUM
                                                                                                 OF POINTS AND AUTHORITIES
Case 2:20-cv-08819-CBM-AS Document 82 Filed 08/13/21 Page 9 of 41 Page ID #:24658


     1 Blue Water Innovations, LLC v. Fettig,
     2    2019 WL 1904589 (S.D. Fla. Mar. 8, 2019) ...................................................... 21

     3 Chase Mfg., Inc. v. Johns Mansville Corp.,
         2019 WL 2866700 (D. Colo. July 3, 2019) ........................................................ 16
     4
     5 Chase Mfg., Inc. v. Johns Manville Corp.,
         2020 WL 1433504 (D. Colo. Mar. 23, 2020) ..................................................... 17
     6
       CollegeSource, Inc. v. AcademyOne, Inc.,
     7
         653 F.3d 1066 (9th Cir. 2011) .............................................................................. 5
     8
       Cullen v. Netflix, Inc.,
     9   880 F. Supp. 2d 1017 (N.D. Cal. 2012) ............................................................. 25
    10
       Ebner v. Fresh, Inc.,
    11   838 F.3d 958 (9th Cir. 2016) .............................................................................. 20
    12 Englewood Lending Inc. v. G & G Coachella Invs., LLC,
    13   651 F. Supp. 2d 1141 (C.D. Cal. 2009) .............................................................. 25
    14 FTC v. Facebook, Inc.,
          2021 WL 2643627 (D.D.C. June 28, 2021) ....................................................... 17
    15
    16 FTC v. Qualcomm Inc.,
          969 F.3d 974 (9th Cir. 2020) ........................................................ 6, 7, 8, 9, 10, 14
    17
       Gate Pharmacy Serv. v. Pfizer, Inc.,
    18
          433 F. App’x 598 (9th Cir. 2011) ....................................................................... 15
    19
       Guardian Pool Fence Sys. Inc. v. Sunwest Indus., Inc.,
    20    2017 WL 2931413 (C.D. Cal. June 1, 2017)...................................................... 21
    21
       Hicks v. PGA Tour, Inc.,
    22    897 F.3d 1109 (9th Cir. 2018) ............................................................................ 15
    23 Hip Hop Bev. Corp. v. Monster Energy Co.,
    24    733 F. App’x 380 (9th Cir. 2018) ................................................................. 14, 17
    25 hiQ Labs, Inc. v. LinkedIn Corp.,
    26    485 F. Supp. 3d 1137 (N.D. Cal. 2020) ........................................................... 8, 9

    27 Karl Storz Imaging, Inc. v. Pointe Conception Med., Inc.,
         2011 WL 13195980 (C.D. Cal. Aug. 1, 2011) ................................................... 23
    28
                                                                 iii                         CASE NO. 2:20-cv-8819-CBM-AS
                                                                              COSTAR’S NOTICE OF MOTION AND MOTION TO
                                                                          DISMISS CREXi’S COUNTERCLAIMS; MEMORANDUM
                                                                                             OF POINTS AND AUTHORITIES
Case 2:20-cv-08819-CBM-AS Document 82 Filed 08/13/21 Page 10 of 41 Page ID #:24659


      1 Kelsey K. v. NFL Enters., LLC,
      2    757 F. App’x 524 (9th Cir. 2018) ....................................................................... 13

     3 LiveUniverse, Inc. v. MySpace, Inc.,
          304 F. App’x 554 (9th Cir. 2008) ................................................................... 8, 12
     4
     5 Manley Toys, Ltd. v. FNF Enters., Inc.,
          2010 WL 11519536 (C.D. Cal. Aug. 2, 2010) ................................................... 19
     6
       Multi Time Mach., Inc. v. Amazon.com, Inc.,
     7
          804 F.3d 930 (9th Cir. 2015) ........................................................................ 21, 23
     8
       Murray v. Cable Nat. Broad. Co.,
     9    86 F.3d 858 (9th Cir. 1996) ................................................................................ 20
    10
       Network Automation, Inc. v. Advanced Sys. Concepts, Inc.,
    11    638 F.3d 1137 (9th Cir. 2011) ................................................................ 21, 22, 23
    12 Novation Ventures, LLC v. J.G. Wentworth Co.,
    13   2015 WL 12765467 (C.D. Cal. Sept. 21, 2015) ........................................... 18, 19
    14 Novation Ventures, LLC v. J.G. Wentworth Co.,
          2016 WL 6821110 (C.D. Cal. Feb. 1, 2016), aff’d, 711 F. App’x
    15
          402 (9th Cir. 2017) ............................................................................................. 22
    16
       Pac. Bell Tel. Co. v. linkLine Commc’ns, Inc.,
    17    555 U.S. 438 (2009) ............................................................................................. 7
    18
       Playboy Enters., Inc. v. Netscape Commc’ns Corp.,
    19    354 F.3d 1020 (9th Cir. 2004) ...................................................................... 21, 23
    20 R & A Synergy LLC v. Spanx, Inc.,
    21    2019 WL 4390564 (C.D. Cal. May 1, 2019)...................................................... 19
    22 Rebel Oil Co. v. Atl. Richfield Co.,
    23   51 F.3d 1421 (9th Cir. 1995) ........................................................................ 16, 17

    24 Retractable Technologies, Inc. v. Becton Dickinson & Co.,
          842 F.3d 883 (5th Cir. 2016) .............................................................................. 12
    25
    26 Rick-Mik Enterprises, Inc. v. Equilon Enterprises LLC,
          532 F.3d 963 (9th Cir. 2008) ........................................................................ 15, 17
    27
       Royal Holdings Techs. Corp. v. FLIR Sys., Inc.,
    28    2021 WL 945246 (C.D. Cal. Jan. 8, 2021)......................................................... 19
                                                                     iv                           CASE NO. 2:20-cv-8819-CBM-AS
                                                                                   COSTAR’S NOTICE OF MOTION AND MOTION TO
                                                                               DISMISS CREXi’S COUNTERCLAIMS; MEMORANDUM
                                                                                                  OF POINTS AND AUTHORITIES
Case 2:20-cv-08819-CBM-AS Document 82 Filed 08/13/21 Page 11 of 41 Page ID #:24660


      1 Sen v. Amazon.com, Inc.,
      2    2020 WL 4582678 (S.D. Cal. Aug. 10, 2020), appeal filed, No. 20-
           55857 (9th Cir. Aug. 20, 2020) .......................................................................... 24
      3
        Somers v. Apple, Inc.,
      4
           729 F.3d 953 (9th Cir. 2013) ................................................................................ 3
      5
        Spectrum Sports, Inc. v. McQuillan,
      6    506 U.S. 447 (1993) ........................................................................................... 12
      7
        Tanaka v. Univ. of S. Cal.,
      8    252 F.3d 1059 (9th Cir. 2001) ............................................................................ 15
     9 ThermoLife Int’l, LLC v. Am. Fitness Wholesalers, L.L.C.,
    10    831 F. App’x 325 (9th Cir. 2020) ....................................................................... 24
    11 Top Rank, Inc. v. Haymon,
          2015 WL 9948936 (C.D. Cal. Oct. 16, 2015) .............................................. 16, 17
    12
    13 Toyota Motor Sales, U.S.A., Inc. v. Tabari,
          610 F.3d 1171 (9th Cir. 2010) ...................................................................... 19, 22
    14
       Verizon Commc’ns Inc. v. Law Offices of Curtis V. Trinko, LLP,
    15
          540 U.S. 398 (2004) ..................................................................................... 6, 7, 8
    16
       Warren v. Fox Family Worldwide, Inc.,
    17    328 F.3d 1136 (9th Cir. 2003) .............................................................................. 9
    18
       Wells Fargo & Co. v. ABD Ins. & Fin. Servs., Inc.,
    19    758 F.3d 1069 (9th Cir. 2014) ............................................................................ 18
    20                                                       STATUTES
    21
          15 U.S.C. § 1.................................................................................................. 5, 13, 14
    22
          15 U.S.C. § 2.............................................................................................. 5, 6, 12, 14
    23
    24 Cal. Bus. & Prof. Code § 17200 .............................................................................. 24
    25 Cal. Bus. & Prof. Code § 17500 .............................................................................. 19
    26                                                          RULES
    27 Fed. R. Civ. Proc. 12(b)(6) ........................................................................................ 3
    28
                                                                        v                           CASE NO. 2:20-cv-8819-CBM-AS
                                                                                     COSTAR’S NOTICE OF MOTION AND MOTION TO
                                                                                 DISMISS CREXi’S COUNTERCLAIMS; MEMORANDUM
                                                                                                    OF POINTS AND AUTHORITIES
Case 2:20-cv-08819-CBM-AS Document 82 Filed 08/13/21 Page 12 of 41 Page ID #:24661


      1                                             OTHER AUTHORITIES
      2
        Elisa V. Mariscal & David S. Evans, The Role of Keyword Advertising
      3    in Competition Among Rival Brands, Univ. of Chi. Law. Sch.,
           Coase-Sandor Inst. for Law & Econ. Working Paper No. 619 (Nov.
      4
           2012) ................................................................................................................... 13
      5
        Google, Rigorous Testing,
      6    https://www.google.com/search/howsearchworks/mission/users/
      7    (last visited Aug. 12, 2021) ................................................................................ 20

      8
      9
    10
    11
    12
    13
    14
    15
    16
    17
    18
    19
    20
    21
    22
    23
    24
    25
    26
    27
    28
                                                                          vi                           CASE NO. 2:20-cv-8819-CBM-AS
                                                                                        COSTAR’S NOTICE OF MOTION AND MOTION TO
                                                                                    DISMISS CREXi’S COUNTERCLAIMS; MEMORANDUM
                                                                                                       OF POINTS AND AUTHORITIES
Case 2:20-cv-08819-CBM-AS Document 82 Filed 08/13/21 Page 13 of 41 Page ID #:24662


      1                                 INTRODUCTION
      2        Plaintiffs CoStar Group, Inc. and CoStar Realty Information, Inc. (together,
      3 “CoStar”) provide commercial real estate information, analytics, and online property
      4 marketplaces to property owners, lessees, and brokers, among others. CoStar has
      5 built its business the right way: relying on the hard work of thousands of employees
      6 over three decades, and investing over $5 billion to develop its commercial real
      7 estate products, including its subscription database and the LoopNet marketplace.
      8        CoStar competitor and Defendant Commercial Real Estate Exchange Inc.
      9 (“CREXi”) has taken an alternative route. CREXi steals from CoStar. CREXi
    10 accesses CoStar’s password-protected database using credentials belonging to other
    11 companies and then mass downloads content from CoStar’s database. It has copied
    12 more than 11,000 CoStar copyrighted photographs and published them on its
    13 competing website. It has impermissibly accessed CoStar’s LoopNet marketplace
    14 more than one million times to copy images and leverage other content. That is why
    15 CoStar sued CREXi for copyright infringement, misappropriation, unfair
    16 competition, false advertising, and breach of contract. CREXi did not even contest
    17 CoStar’s claim for infringement and, after considering CREXi’s motion to dismiss,
    18 the Court allowed all of those other claims to proceed.
    19         Caught red-handed, CREXi seeks to divert attention by concocting
    20 counterclaims. They are rooted in the idea that CREXi, despite the masses of
    21 evidence of its wrongdoing, is somehow a victim, and the misguided notion that
    22 CoStar is required as a matter of law to help CREXi compete. CREXi seeks to allege
    23 a supposedly “anticompetitive scheme” by CoStar to prevent brokers from using
    24 competing commercial real estate (“CRE”) services, block competitors from
    25 accessing CoStar’s products, and confuse consumers through false advertising and
    26 trademark infringement.
    27         CREXi’s counterclaims are makeweight and should be dismissed. Its antitrust
    28 claims are conclusory, contradictory, and based on the faulty legal premise that
                                                    1                        CASE NO. 2:20-cv-8819-CBM-AS
                                                              COSTAR’S NOTICE OF MOTION AND MOTION TO
                                                          DISMISS CREXi’S COUNTERCLAIMS; MEMORANDUM
                                                                             OF POINTS AND AUTHORITIES
Case 2:20-cv-08819-CBM-AS Document 82 Filed 08/13/21 Page 14 of 41 Page ID #:24663


      1 CoStar is obligated to build CREXi’s business. The antitrust laws do not require
      2 that CoStar provide CREXi access to its content so that CREXi can copy and display
      3 it. And CREXi’s assertion that CoStar has entered into “exclusive” agreements that
      4 preclude brokers from using competitors’ products is implausible.                     CoStar’s
      5 contracts, which CREXi attaches and incorporates by reference into its
      6 counterclaims, are on their face “non-exclusive” and do not prevent brokers from
      7 sharing information with CREXi or anyone else. Faced with that contradiction,
      8 CREXi is forced to assert that CoStar adds fake data to listings and watermarks
      9 broker photographs to achieve exclusivity, but those conclusory claims are
    10 unsubstantiated, implausible, and contrary to CREXi’s other allegations. CREXi
    11 fails to plead a single example of a modified listing, watermarked photo, or broker
    12 who as a result of CoStar’s conduct could not deal with CREXi. And CREXi
    13 affirmatively alleges that brokers use multiple listing sites, which undercuts its
    14 allegation of CoStar-exclusivity, and admits that it tells the world that CREXi has
    15 more listings than any other site, consistent with the plain language of CoStar’s non-
    16 exclusive contracts, and contrary to its claim of monopoly maintenance. CREXi
    17 ultimately concedes that the only barrier to more listings on CREXi is that it takes
    18 effort on the part of brokers, but that is not a violation of the antitrust laws.
    19         CREXi’s other claims are similarly deficient. CREXi has not alleged that
    20 CoStar has made any false statement to support a false advertising claim or that any
    21 sophisticated consumer of CRE auction services would be confused by CoStar’s
    22 alleged use of CREXi’s trademark in its Google AdWords ads for Ten-X, when that
    23 consumer is searching for high priced CRE to buy or sell. Its derivative unfair and
    24 unlawful competition claims must likewise fail; and CREXi is not entitled to any
    25 declaratory relief regarding the very conduct that is the subject of this litigation.
    26         CREXi’s claims, brought nine months after CoStar filed its initial complaint,
    27 and only after the Court allowed CoStar’s claims against CREXi to proceed, should
    28 be seen for what they are: a smokescreen to distract from CREXi’s own wrongdoing
                                                      2                         CASE NO. 2:20-cv-8819-CBM-AS
                                                                 COSTAR’S NOTICE OF MOTION AND MOTION TO
                                                             DISMISS CREXi’S COUNTERCLAIMS; MEMORANDUM
                                                                                OF POINTS AND AUTHORITIES
Case 2:20-cv-08819-CBM-AS Document 82 Filed 08/13/21 Page 15 of 41 Page ID #:24664


      1 and a cudgel to increase the cost of resolving CoStar’s claims. Those counterclaims
      2 should be dismissed in their entirety, and with prejudice.
      3                                       LEGAL STANDARD
      4          A complaint must be dismissed under Rule 12(b)(6) unless it contains
      5 “sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible
      6 on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citation omitted). A claim
      7 is plausible only where the plaintiff pleads “facts, as opposed to conclusory
      8 allegations or the formulaic recitation of the elements of a cause of action, and must
      9 rise above the mere conceivability or possibility of unlawful conduct.” Somers v.
    10 Apple, Inc., 729 F.3d 953, 959-60 (9th Cir. 2013) (quoting Bell Atl. Corp. v.
    11 Twombly, 550 U.S. 544, 555 (2007)). The “insistence on specificity” in pleading is
    12 particularly important when a plaintiff alleges antitrust claims, because antitrust
    13 discovery can be “costly and protracted.” Id. at 966 (citation omitted).
    14                            CREXI’S ALLEGATIONS

    15           Seeking to excuse its now admitted wrongdoing1, CREXi claims to be the
    16 “victim” of a supposedly anticompetitive scheme that CoStar deploys to maintain its
    17 alleged monopolies in the internet CRE listing, information, and auction services
    18 markets in “metropolitan areas.” CREXi Countercls., Dkt. 74, ¶¶ 1, 4, 7. According
    19 to CREXi, CoStar’s “scheme” has three components:
    20           First, CREXi claims that CoStar imposes “exclusionary contractual terms”
    21 that (1) prohibit competitors from accessing broker-provided information on
    22 CoStar’s websites, and (2) prevent brokers from using competing internet CRE
    23 products and services. Id. ¶ 9. Specifically, CREXi claims that the terms of use for
    24 CoStar’s products—LoopNet, LoopLink, Ten-X, and its CoStar database—prohibit
    25 competitors from accessing its websites and that CoStar enforces this prohibition
    26    1
                 CREXi’s Answer concedes that its employees used stolen passwords to access and copy
    27 from CoStar’s subscription database (Dkt. 73, ¶ 112); its Motion to Dismiss did not even attempt
          to challenge CoStar’s showing of mass copyright infringement (Dkt. 55-1 at 3); and rather than
    28 deny that it had misappropriated data, CREXi argued instead that it was justified in doing so if the
          content appeared on a public site (id. at 9), an argument the Court rejected. Dkt. 71 at 6.
                                                             3                          CASE NO. 2:20-cv-8819-CBM-AS
                                                                         COSTAR’S NOTICE OF MOTION AND MOTION TO
                                                                     DISMISS CREXi’S COUNTERCLAIMS; MEMORANDUM
                                                                                        OF POINTS AND AUTHORITIES
Case 2:20-cv-08819-CBM-AS Document 82 Filed 08/13/21 Page 16 of 41 Page ID #:24665


      1 through technological measures. See, e.g., id. ¶¶ 136-37. In addition, CREXi claims
      2 that CoStar’s terms of use prevent “brokers from providing public CRE listings to
      3 competing platforms,” though it has identified no contractual provision that actually
      4 includes such a prohibition. Id. ¶¶ 110-11; see also id. ¶ 111 (“CoStar’s exclusionary
      5 contractual terms . . . operate as exclusive agreements.”); accord id. ¶ 225.
      6          In reality, CoStar is allowed to prohibit competitors from accessing its
      7 products, and its terms of use, which CREXi attaches, only provide CoStar with a
      8 “non-exclusive” license to broker-submitted content, see, e.g., id. at Ex. B at 2.
      9 Those terms also require that brokers “retain[] [their own] back-up copies of all
    10 information [and] photographs” provided to CoStar. Id. Brokers are free to share
    11 their information with any competing CRE platform, which they do, as CREXi
    12 advertises that it has “far more listings than the competitors out there.” First Am.
    13 Compl. ¶ 25, Dkt. 33 (“FAC”); Answer ¶ 25, Dkt. 73. It might be easier to covertly
    14 copy listing information from CoStar instead of obtaining it from brokers, as CREXi
    15 concedes, Countercls. ¶ 118, but that is hardly the concern of the antitrust laws.
    16           Second, CREXi claims that CoStar “routinely seeds brokers’ listings” on
    17 LoopNet “with inaccurate data and adds its watermark to photographs provided by
    18 brokers” so that it can “falsely claim intellectual property protection.” Id. ¶¶ 13-14.
    19 CREXi argues that this supposed conduct “operate[s] as a de facto barrier preventing
    20 customers from using competing products” and “CoStar’s competitors from freely
    21 using broker and other customer data.”                     Id. ¶ 185.        These allegations are
    22 unsubstantiated and implausible. 2 Even if those allegations were true, because
    23 CoStar’s agreements are, on their face, non-exclusive, brokers can freely share their
    24
          2
    25           CREXi does not identify a single listing that CoStar has supposedly inaccurately modified,
          a broker-provided image to which CoStar has applied its watermark (as opposed to its name, which
    26    CoStar does not allege signifies its copyright over an image), or any broker who was unable to
          provide its information to CREXi because of CoStar’s supposedly “routine” practices. CREXi’s
    27    speculation about those practices is thus conclusory and unsubstantiated and may be disregarded.
          That speculation is also at odds with the actual contracts at issue, which require brokers to maintain
    28    their own information, and contradicted by CREXi’s allegation that brokers use multiple listing
          services. It should not be credited for those additional reasons.
                                                              4                          CASE NO. 2:20-cv-8819-CBM-AS
                                                                          COSTAR’S NOTICE OF MOTION AND MOTION TO
                                                                      DISMISS CREXi’S COUNTERCLAIMS; MEMORANDUM
                                                                                         OF POINTS AND AUTHORITIES
Case 2:20-cv-08819-CBM-AS Document 82 Filed 08/13/21 Page 17 of 41 Page ID #:24666


      1 information with competing CRE websites. Indeed, CREXi admits that brokers use
      2 multiple listing services and can share their information with competing platforms,
      3 they just prefer not to invest the “time and effort” to do so. Id. ¶¶ 118, 229.
      4          Third, CREXi alleges that CoStar has infringed its trademark by buying
      5 “CREXi” as a Google AdWord and using the mark in Google-generated ads for Ten-
      6 X. Id. ¶¶ 198, 200. “An AdWord is a word or phrase that, when entered as a search
      7 term in Google, prompts Google to display an advertisement designed by the
      8 AdWord owner linking to the owner’s website.”                             CollegeSource, Inc. v.
      9 AcademyOne, Inc., 653 F.3d 1066, 1071 (9th Cir. 2011). But keyword advertising
    10 on a competitor’s trademark is commonplace, and CREXi fails to allege how any
    11 consumers were, or plausibly could have been, confused by CoStar’s ads.3
    12           CREXi argues that this “anticompetitive scheme” gives rise to federal
    13 antitrust claims under Sections 1 and 2 of the Sherman Act; a state antitrust claim
    14 under the Cartwright Act; federal trademark infringement and false advertising
    15 claims under the Lanham Act, and state false advertising, unfair, and unlawful
    16 competition claims. CREXi also seeks a declaratory judgment that it has not
    17 engaged in unlawful conduct by accessing CoStar’s websites, including LoopNet.
    18 Each of these claims is inadequately pled and should be dismissed.
    19                                             ARGUMENT
    20 I.        THE COURT SHOULD DISMISS CREXI’S ANTITRUST CLAIMS
    21           CREXi’s claims for monopolization (Counts I, II and III), attempted
    22 monopolization (Counts IV, V, and VI), and “exclusionary contracts” (Counts VII
    23 and VIII) are meritless.
    24
    25    3
                 While CREXi alleges that CoStar has grown through “anticompetitive acquisitions” and
    26 litigation, Countercls. ¶¶ 62-90, CREXi is not bringing any claim based on CoStar’s alleged
          acquisition of monopoly power. It is only alleging that CoStar has unlawfully maintained its
    27 alleged monopoly in specific markets. See id. ¶¶ 233, 245, 257. CREXi’s allegations regarding
          CoStar’s acquisition of LoopNet a decade ago and the demise of Xceligent in 2017 are thus
    28 irrelevant. So too is the FTC’s blocking of CoStar’s RentPath transaction, which involved a market
          for internet listing services for large residential apartment complexes, a market not at issue here.
                                                              5                          CASE NO. 2:20-cv-8819-CBM-AS
                                                                          COSTAR’S NOTICE OF MOTION AND MOTION TO
                                                                      DISMISS CREXi’S COUNTERCLAIMS; MEMORANDUM
                                                                                         OF POINTS AND AUTHORITIES
Case 2:20-cv-08819-CBM-AS Document 82 Filed 08/13/21 Page 18 of 41 Page ID #:24667


      1          A.      CREXi Fails To Plead Exclusionary Conduct To Support A
                         Monopolization Or Attempted Monopolization Claim
      2
      3          CREXi’s monopolization and attempted monopolization claims brought
      4 under Section 2 of the Sherman Act, 15 U.S.C. § 2, should be dismissed because
      5 CREXi has not alleged that CoStar engaged in any exclusionary conduct. While
      6 CREXi repeatedly denigrates CoStar as a “monopolist” and pretends that label states
      7 a claim, the Supreme Court has made clear that “the mere possession of monopoly
      8 power, and the concomitant charging of monopoly prices, is not only not unlawful;
      9 it is an important element of the free-market system.” Verizon Commc’ns Inc. v.
    10 Law Offices of Curtis V. Trinko, LLP, 540 U.S. 398, 407 (2004) (“Trinko”)
    11 (emphasis added). Thus, to plead a Section 2 claim, CREXi must do more than
    12 (wrongly) label CoStar a “monopolist.” See id. CREXi must allege that CoStar has
    13 maintained or attempted to acquire monopoly power through exclusionary conduct,
    14 i.e., conduct that has “an anticompetitive effect” and “harm[s] the competitive
    15 process and thereby harm consumers.” FTC v. Qualcomm Inc., 969 F.3d 974, 990
    16 (9th Cir. 2020) (citation and quotation omitted). CREXi has alleged no conduct that
    17 satisfies that standard. None of the three prongs of CoStar’s supposed “scheme” rise
    18 to the level of actionable exclusionary conduct.4
    19
                         1.      CoStar’s Supposed Refusal To Deal With CREXi Is Not
    20                           Actionable Under The Antitrust Laws
    21           CREXi complains that CoStar prohibits competitors from accessing its
    22 websites, but as this Court already recognized, CoStar is allowed to do exactly that.
    23 In moving to dismiss CoStar’s claim for misappropriation, CREXi argued that
    24
          4
    25            CREXi has brought separate antitrust claims focused on three product markets. Countercls.
          ¶¶ 232-316. While CREXi talks of a “scheme” to try to tie together its claims of exclusionary
    26    conduct, that conduct has to be assessed in a relevant market. For example, that CoStar supposedly
          modifies LoopNet listings has no relevance (alleged or in reality) to the antitrust claims relating to
    27    the auction or information services markets. See, e.g., id. ¶¶ 172, 174, 176, 180-83. The
          allegations of exclusionary conduct are deficient in the aggregate, but are even more so when they
    28    are viewed in the context of each alleged relevant market. See Ex. A, attached hereto, which details
          CREXi’s allegations of exclusionary conduct and the relevant markets to which they apply.
                                                              6                          CASE NO. 2:20-cv-8819-CBM-AS
                                                                          COSTAR’S NOTICE OF MOTION AND MOTION TO
                                                                      DISMISS CREXi’S COUNTERCLAIMS; MEMORANDUM
                                                                                         OF POINTS AND AUTHORITIES
Case 2:20-cv-08819-CBM-AS Document 82 Filed 08/13/21 Page 19 of 41 Page ID #:24668


      1 CoStar’s blocking of CREXi from its websites constituted “unfair and unlawful
      2 competition.” Dkt. 55-1 at 2. But the Court rejected CREXi’s argument in allowing
      3 CoStar’s claim to proceed. Dkt. 71 at 6. The Court’s decision was correct as a
      4 matter of antitrust law because, “[a]s a general rule, businesses are free to choose the
      5 parties with whom they will deal,” including dealing or not dealing with a
      6 competitor. Pac. Bell Tel. Co. v. linkLine Commc’ns, Inc., 555 U.S. 438, 448 (2009);
      7 see also Trinko, 540 U.S. at 408. Under the Sherman Act, there is “no duty to aid
      8 competitors,” and the Supreme Court has repeatedly affirmed that a party alleged to
      9 have provided “insufficient assistance” to its rivals has not violated the antitrust
    10 laws. Trinko, 540 U.S. at 410-11; linkLine, 555 U.S. at 448-51; see also Qualcomm,
    11 969 F.3d at 994 (“[T]here is ‘no duty to deal under the terms and conditions preferred
    12 by a competitor’s rival.’” (citation omitted)).
    13          At best, all that CREXi alleges is that CoStar has provided it “insufficient
    14 assistance,” which the Supreme Court recognized “is not a recognized antitrust claim
    15 under the Court’s existing refusal-to-deal precedents.” Trinko, 540 U.S. at 410.
    16 CREXi contends that “the monetary costs and investment in time and resources to
    17 develop and maintain products and services in the internet CRE listing, information,
    18 and auction services markets is substantial.” Countercls. ¶ 52. CREXi would like
    19 to avoid those costs, reasoning that it would be cheaper and easier to build competing
    20 products if it could simply access and copy the contents of CoStar’s websites and
    21 databases. See id. ¶ 118. Thus, CoStar’s supposedly “anticompetitive” acts consist
    22 of nothing more than actions that CoStar has taken to protect the fruits of its hard
    23 labor and billions of dollars of investment. This includes prohibiting competitors
    24 from accessing and copying content from CoStar’s websites in order to compete with
    25 CoStar, id. ¶¶ 131-36; employing technological measures to block competitors’
    26 access to its products, id. ¶¶ 137-40; and asserting rights over its CRE marketplaces
    27
    28
                                                      7                        CASE NO. 2:20-cv-8819-CBM-AS
                                                                COSTAR’S NOTICE OF MOTION AND MOTION TO
                                                            DISMISS CREXi’S COUNTERCLAIMS; MEMORANDUM
                                                                               OF POINTS AND AUTHORITIES
Case 2:20-cv-08819-CBM-AS Document 82 Filed 08/13/21 Page 20 of 41 Page ID #:24669


      1 and database, id. ¶¶ 171-89.5 All of CREXi’s allegations merely describe CoStar’s
      2 refusal to allow CREXi to access its websites and database to steal content in order
      3 to create competing CRE products.
      4          As the Supreme Court explained in Trinko, there would be no incentive for a
      5 company like CoStar to invest in building its successful CRE database and
      6 marketplaces if it could be compelled “to share the source of [its] advantage” with
      7 other firms that did not make the same investment. 540 U.S. at 407. It is for that
      8 reason—“[t]o safeguard the incentive to innovate,” id.—that the antitrust laws
      9 impose no obligation to deal with or render assistance to competitors. The Sherman
    10 Act thus provides no basis to force CoStar to provide a shortcut that would accelerate
    11 the growth of CREXi’s business while eroding the value of CoStar’s. See, e.g.,
    12 LiveUniverse, Inc. v. MySpace, Inc., 304 F. App’x 554, 556-58 (9th Cir. 2008)
    13 (affirming dismissal of LiveUniverse’s monopolization claim because MySpace had
    14 no duty to deal with LiveUniverse or allow MySpace users to link to content on
    15 competing social networking sites); hiQ Labs, Inc. v. LinkedIn Corp., 485 F. Supp.
    16 3d 1137, 1149–52, 1155 (N.D. Cal. 2020) (holding that hiQ failed to plead a
    17 plausible monopolization claim based on LinkedIn’s refusal to allow hiQ to access
    18 its website even to access otherwise publicly available user submitted information).
    19           While there is “one, limited exception” to the “general rule that there is no
    20 antitrust duty to deal,” it does not apply here. Qualcomm, 969 F.3d at 993. The
    21 Ninth Circuit has explained that under Aspen Skiing Co. v. Aspen Highlands Skiing
    22 Corp., 472 U.S. 585 (1985), “a company engages in prohibited, anticompetitive
    23 conduct when (1) it unilaterally terminates a voluntary and profitable course of
    24 dealing; (2) the only conceivable rationale or purpose is to sacrifice short term
    25    5
                 CREXi misleadingly suggests that CoStar interferes with its ability to access brokers’
    26 websites. See, e.g., Countercls. ¶ 10. In its complaint, CoStar is clear that it is not alleging that
          CREXi has unlawfully accessed LoopLink, FAC at 2 n.1, and in its counterclaims, CREXi points
    27 to only a single example of CoStar supposedly blocking access to the LoopLink hosted portion of
          a broker’s website. See Countercls. ¶¶ 140-42. But, even assuming that CREXi’s allegations were
    28 plausible (and they are not), all it has pled is that CoStar blocks it from accessing the part of a
          broker’s website that is hosted by CoStar’s LoopLink product. See id. ¶ 31.
                                                            8                          CASE NO. 2:20-cv-8819-CBM-AS
                                                                        COSTAR’S NOTICE OF MOTION AND MOTION TO
                                                                    DISMISS CREXi’S COUNTERCLAIMS; MEMORANDUM
                                                                                       OF POINTS AND AUTHORITIES
Case 2:20-cv-08819-CBM-AS Document 82 Filed 08/13/21 Page 21 of 41 Page ID #:24670


      1 benefits in order to obtain higher profits in the long run from the exclusion of
      2 competition; and (3) the refusal to deal involves products that the defendant already
      3 sells in the existing market to other similarly situated customers.” Qualcomm, 969
      4 F.3d at 993-94 (citations omitted). To fit within the Aspen Skiing exception, a
      5 plaintiff must plead all three elements, and CREXi has pled none. CREXi alleges
      6 no previous “voluntary and profitable course of dealing” between it and CoStar that
      7 CoStar terminated.6 Id. at 993 (citation omitted). Nor does CREXi plead that CoStar
      8 sacrificed any short-term benefit in order to obtain higher profits in the long run. See
      9 id. And, CREXi does not allege that CoStar has singled out CREXi; instead, it
    10 alleges that CoStar prohibits all competitors from accessing its products.
    11 Countercls. ¶¶ 131-36. Thus, CREXi’s allegations that CoStar blocks it from
    12 accessing its products, even if true, reflect permissible conduct that cannot give rise
    13 to any Section 2 claim.
    14
                        2.     CoStar’s Agreements With Brokers Are, On Their Face,
    15                         Not “Exclusionary”
    16          CREXi’s allegations that CoStar “imposes exclusionary contractual” terms
    17 that prevent customers from using competing products, id. ¶ 110, also cannot support
    18 a Section 2 claim because CREXi alleges no facts to support any finding of
    19 exclusivity. The agreements that are the basis for CREXi’s claims—the terms of
    20 use for CoStar’s products—expressly contradict CREXi’s allegations of exclusivity.
    21 See id. ¶¶ 114-16, Exs. B-D; see also Warren v. Fox Family Worldwide, Inc., 328
    22 F.3d 1136, 1139 (9th Cir. 2003) (a court is not required to accept as true allegations
    23 that are contradicted by agreements attached to or referenced in a complaint).
    24          An “exclusive” arrangement under the antitrust laws has a particular meaning
    25 and refers to “an agreement between a vendor and a buyer that prevents the buyer
    26   6
                While CREXi alleges that prior to its acquisition of LoopNet, CoStar was of the view that
    27 it should be able to access information on LoopNet, but after its acquisition took a different
         position, Countercls. ¶¶ 152-64, that does not identify any “voluntary and profitable course of
    28 dealing” between CoStar and CREXi. See hiQ, 485 F. Supp. 3d at 1150-51 (Aspen Skiing did not
         apply where hiQ failed to allege that it and LinkedIn had “a voluntary course of dealing”).
                                                           9                          CASE NO. 2:20-cv-8819-CBM-AS
                                                                       COSTAR’S NOTICE OF MOTION AND MOTION TO
                                                                   DISMISS CREXi’S COUNTERCLAIMS; MEMORANDUM
                                                                                      OF POINTS AND AUTHORITIES
Case 2:20-cv-08819-CBM-AS Document 82 Filed 08/13/21 Page 22 of 41 Page ID #:24671


      1 from purchasing a given good from any other vendor.” Qualcomm, 969 F.3d at 1003
      2 (citation omitted). While CREXi alleges that CoStar’s terms of use “restrict brokers
      3 from providing public CRE listings to competing platforms,” Countercls. ¶¶ 9, 110,
      4 it fails to identify any contractual provision that prevents brokers from sharing their
      5 information with CoStar’s competitors. Each of the agreements that CREXi wrongly
      6 labels as “exclusive” only grants CoStar a non-exclusive license to broker-submitted
      7 content. Id. ¶¶ 114 (“LoopNet and its affiliates . . . are granted a non-exclusive . . .
      8 right and license to all such [broker] Submitted Content.”), 115 (alleging that
      9 CoStar’s subscription database’s terms of use provide a “non-exclusive right and
    10 license with respect to . . . content submitted by brokers”), 116 (“[T]he LoopLink
    11 Terms merely grant LoopNet a non-exclusive license . . . .”) (emphases added).
    12 CoStar’s agreements could not be clearer in their lack of exclusivity. CoStar’s terms
    13 of use also require that brokers maintain a copy of any materials they provide to
    14 LoopNet. E.g., id. at Ex. B at 2. Brokers who supply CRE listings or photographs
    15 to CoStar are thus free to supply the same information to CREXi. Indeed, CREXi
    16 admits that brokers do exactly that. CREXi alleges that brokers typically use
    17 multiple “internet CRE listing services,” Countercls. ¶ 33, and admits that it
    18 advertises that it has “far more listings than the competitors out there.” FAC ¶ 25;
    19 Answer ¶ 25. While it may be more burdensome than copying wholesale from
    20 CoStar, CREXi admittedly can obtain listing information directly from brokers.
    21 Tellingly, CREXi does not identify any broker from which it was unable to obtain
    22 listing information because of the broker’s agreement with CoStar.
    23          CREXi also cannot avoid the lack of exclusivity in CoStar’s agreements by
    24 alleging that CoStar’s “exclusionary practices operate as de facto exclusive
    25 agreements.” Countercls. ¶ 11. Courts will only recognize claims premised on de
    26 facto exclusive agreements where the terms of an agreement create powerful
    27 incentives for customers to behave as though their contracts are exclusive even when
    28 they are not. See, e.g., Aerotec Int’l, Inc. v. Honeywell Int’l, Inc., 836 F.3d 1171,
                                                     10                        CASE NO. 2:20-cv-8819-CBM-AS
                                                                COSTAR’S NOTICE OF MOTION AND MOTION TO
                                                            DISMISS CREXi’S COUNTERCLAIMS; MEMORANDUM
                                                                               OF POINTS AND AUTHORITIES
Case 2:20-cv-08819-CBM-AS Document 82 Filed 08/13/21 Page 23 of 41 Page ID #:24672


      1 1182 (9th Cir. 2016) (“In certain limited situations, discounts and rebates
      2 conditioned on a promise of exclusivity . . . may be understood as ‘de facto’
      3 exclusive dealing . . . .”).         CREXi has identified no such terms in CoStar’s
      4 agreements, and there are none.
      5          CREXi focuses instead on CoStar’s alleged “policy” of “routinely” modifying
      6 brokers’ LoopNet listings by inserting inaccurate data and adding its “watermark”
      7 to broker-supplied photographs. 7 Countercls. ¶¶ 13-14, 171-89. According to
      8 CREXi, CoStar “falsely claim[s]” copyright ownership over brokers’ photographs
      9 and forbids brokers from sharing their own information with CoStar’s competitors.
    10 Id. ¶ 176. These allegations too are insufficient. Even if CoStar “routinely” engaged
    11 in the conduct that CREXi alleges, the only type of exclusivity CoStar’s conduct
    12 allegedly creates—control over a particular copy of information, as opposed to
    13 exclusivity with the broker who provided it—is not a concern of the antitrust laws.8
    14           As CREXi’s allegations ultimately concede, the actual reason some brokers
    15 supposedly choose to put listing information on CoStar’s websites while not
    16 providing it to other competing platforms is that they do not want to “spend the time
    17 and effort” to do so. Countercls. ¶ 118. That, of course, is a far cry from an
    18 agreement between CoStar and its customers to deal exclusively. But what CREXI’s
    19 concession does reveal is the core of its misguided quest: CREXi is asking this Court
    20 to wield the antitrust laws against CoStar because its customers decide not to engage
    21 a competing service that would require “time and effort.” Id. That CREXi is unable,
    22
          7
                This supposed conduct is limited to LoopNet and the listing services market. CREXi does
    23 not allege that CoStar modifies listing information or adds its watermark to information provided
       to its subscription database or to Ten-X. Countercls. ¶¶ 171-89; see id. at Ex. A.
    24 8
                 The allegations are, in any event, conclusory. While CREXi labels CoStar’s “policy”
    25 “routine[],” Countercls. ¶ 179, it does not identify even one listing that CoStar has inaccurately
          modified or any instance where CoStar applied its watermark to a broker-provided image. Instead,
    26 CREXi leaves the allegations about listing modifications entirely unsubstantiated, and provides
          only a few examples of instances when CoStar added its name to broker images. See id. ¶¶ 181-
    27 83. But CoStar did not allege that its name (as opposed to its watermark) signifies its copyright;
          and it alleged that it watermarked only its own copyrighted photographs. See, e.g., FAC ¶ 66.
    28 CREXi offers not one contrary example.
                                                          11                          CASE NO. 2:20-cv-8819-CBM-AS
                                                                       COSTAR’S NOTICE OF MOTION AND MOTION TO
                                                                   DISMISS CREXi’S COUNTERCLAIMS; MEMORANDUM
                                                                                      OF POINTS AND AUTHORITIES
Case 2:20-cv-08819-CBM-AS Document 82 Filed 08/13/21 Page 24 of 41 Page ID #:24673


      1 or does not wish to invest the resources, to convince brokers “to re-create their
      2 listings on multiple platforms” cannot be laid at the feet of CoStar, and certainly is
      3 not an antitrust violation. See LiveUniverse, 304 F. App’x at 557 (dismissing Section
      4 2 claim because LiveUniverse failed to plead any antitrust injury where MySpace
      5 users “remain[ed] free to choose which online social networks to join, and on which
      6 websites they upload . . . content”).9
      7
                        3.       CoStar’s Alleged Trademark Infringement Is Not
      8                          Actionable Under the Sherman Act
      9          The third prong of CoStar’s supposedly anticompetitive scheme—its alleged
    10 infringement of CREXi’s trademark in its ads for Ten-X, its auction services
    11 product—also does not plead any exclusionary conduct under Section 2. The
    12 Sherman Act is directed “against conduct which unfairly tends to destroy
    13 competition,” and, thus, “courts have been careful to avoid constructions of § 2
    14 which might chill competition, rather than foster it.” Spectrum Sports, Inc. v.
    15 McQuillan, 506 U.S. 447, 458 (1993); see also Aerotec Int’l, Inc., 836 F.3d at 1175
    16 (the Sherman Act “directs itself not against conduct which is competitive, even if
    17 severely so, but against conduct which unfairly tends to destroy competition itself”).
    18           For example, courts have held that patent infringement and false advertising
    19 do not constitute exclusionary conduct. In Retractable Technologies, Inc. v. Becton
    20 Dickinson & Co., 842 F.3d 883, 893 (5th Cir. 2016), the Fifth Circuit held that
    21 “patent infringement cannot serve as a basis for imposing antitrust liability because
    22 . . . [b]y definition, patent infringement invades the patentee’s monopoly rights,
    23 causes competing products to enter the market, and thereby increases competition.”
    24 Similarly, in American Professional Testing Service, Inc. v. Harcourt Brace
    25 Jovanovich Legal & Professional Publications, Inc., 108 F.3d 1147 (9th Cir. 1997),
    26 the Ninth Circuit held that, “[w]hile false or misleading advertising directed solely
    27    9
                 Just as the plaintiff in LiveUniverse, CREXi alleges only harm to itself and not any harm
    28 to “the process of competition” or “consumer welfare,” as is required to plead antitrust injury.
          304 F. App’x at 557.
                                                          12                         CASE NO. 2:20-cv-8819-CBM-AS
                                                                      COSTAR’S NOTICE OF MOTION AND MOTION TO
                                                                  DISMISS CREXi’S COUNTERCLAIMS; MEMORANDUM
                                                                                     OF POINTS AND AUTHORITIES
Case 2:20-cv-08819-CBM-AS Document 82 Filed 08/13/21 Page 25 of 41 Page ID #:24674


      1 at a single competitor may not be competition on the merits, the [advertising] must
      2 have a significant and enduring adverse impact on competition itself in the relevant
      3 markets to rise to the level of an antitrust violation.” Id. at 1152 (emphasis added).
      4         The result is the same for CREXi’s allegations of trademark infringement.
      5 CoStar’s allegedly infringing ads provide consumers with information regarding an
      6 alternative to CREXi’s services and allow consumers to compare the two
      7 companies’ products. That is clearly more—not less—competition. Cf. Alzheimer’s
      8 Disease & Related Disorders Ass’n, Inc. v. Alzheimer’s Found. of Am., Inc., 307 F.
      9 Supp. 3d 260, 286-87 (S.D.N.Y. 2018) (noting that bidding on a rival’s trademark
    10 in a keyword search allows easier comparisons between products); 1-800 Contacts,
    11 Inc. v. Lens.com, Inc., 755 F. Supp. 2d 1151, 1188-89 (D. Utah 2010) (agreement
    12 among competitors not to bid on each other’s trademarks would likely violate
    13 antitrust laws and limit competition), aff’d in part, rev’d in part on other grounds,
    14 722 F.3d 1229 (10th Cir. 2013); see also Elisa V. Mariscal & David S. Evans, The
    15 Role of Keyword Advertising in Competition Among Rival Brands, Univ. of Chi.
    16 Law. Sch., Coase-Sandor Inst. for Law & Econ. Working Paper No. 619 at 7 (Nov.
    17 2012) (“As with other methods for targeting a rival’s customers, keyword
    18 advertising increases competition for consumers . . . .”).              Because CREXi’s
    19 allegations of CoStar’s trademark infringement, even if true, do not harm
    20 competition or allegedly contribute to CoStar’s supposed market power, those
    21 allegations cannot support CREXi’s Section 2 claims.
    22
                B.    CREXi Fails To Allege Any Claim Under Section 1 Or The
    23                Cartwright Act
    24          CREXi’s claims under Section 1 and the Cartwright Act based on CoStar’s
    25 allegedly “exclusionary contracts” should also be dismissed. See Countercls. ¶¶
    26 301-16; see also Kelsey K. v. NFL Enters., LLC, 757 F. App’x 524, 527 (9th Cir.
    27 2018) (requirements for pleading a claim for exclusive dealing under Section 1 and
    28 the Cartwright Act are the same). Recycling the same (non-actionable) allegations
                                                    13                         CASE NO. 2:20-cv-8819-CBM-AS
                                                                COSTAR’S NOTICE OF MOTION AND MOTION TO
                                                            DISMISS CREXi’S COUNTERCLAIMS; MEMORANDUM
                                                                               OF POINTS AND AUTHORITIES
Case 2:20-cv-08819-CBM-AS Document 82 Filed 08/13/21 Page 26 of 41 Page ID #:24675


      1 from its monopolization claims, Countercls. ¶ 303, CREXi alleges that CoStar’s
      2 agreements conferring a “non-exclusive” right to license brokers’ CRE information
      3 somehow constitute an exclusive agreement. Id. ¶¶ 111, 113-16 (emphasis added).
      4 However, as discussed above, the agreements at issue do not impose any obligation
      5 on brokers to deal exclusively with CoStar, nor do they provide incentives that would
      6 have the same functional effect. See id. ¶¶ 114-16; id. at Exs. B-E.
      7        CREXi’s Section 1 and Cartwright Act claims should also be dismissed for an
      8 independent reason—CREXi fails to allege that CoStar’s agreements have
      9 “foreclose[d] competition in a substantial share of the line of commerce affected.”
    10 Qualcomm, 969 F.3d at 1003 (citation omitted). This is a required element of an
    11 exclusive dealing claim because “[i]f competitors can reach the ultimate consumers
    12 of the product by employing existing or potential alternative channels of
    13 distribution,” then the alleged exclusive dealing does not foreclose the plaintiff from
    14 the relevant market or harm competition. Allied Orthopedic Appliances Inc. v. Tyco
    15 Health Care Grp. LP, 592 F.3d 991, 997 (9th Cir. 2010) (citation omitted). Here,
    16 CREXi’s counterclaims are silent as to the percentage of the broker market that is
    17 supposedly tied up by CoStar’s allegedly exclusive agreements and plead nothing
    18 about the percentage of the relevant markets that are allegedly foreclosed to it. Hip
    19 Hop Bev. Corp. v. Monster Energy Co., 733 F. App’x 380, 381 (9th Cir. 2018)
    20 (affirming dismissal of claim where plaintiff alleged that four brokers had exclusive
    21 agreements with defendant but “did not allege how many total brokers were in the
    22 market”). CREXi thus has not stated a plausible claim under Section 1 or the
    23 Cartwright Act.
    24         C.     CREXi’s Antitrust Claims Should Also Be Dismissed Because
                      CREXi Does Not Plausibly Allege That CoStar Has Market
    25                Power
    26         The Court should also dismiss all of CREXi’s antitrust claims (whether
    27 brought under Section 1, Section 2, or the Cartwright Act) because CREXi fails to
    28 plausibly allege that CoStar has market power in any relevant market. For all of its
                                                    14                        CASE NO. 2:20-cv-8819-CBM-AS
                                                               COSTAR’S NOTICE OF MOTION AND MOTION TO
                                                           DISMISS CREXi’S COUNTERCLAIMS; MEMORANDUM
                                                                              OF POINTS AND AUTHORITIES
Case 2:20-cv-08819-CBM-AS Document 82 Filed 08/13/21 Page 27 of 41 Page ID #:24676


      1 antitrust claims, CREXi must plausibly allege that CoStar has market power in a
      2 properly defined relevant market. Rick-Mik Enters., Inc. v. Equilon Enters. LLC,
      3 532 F.3d 963, 972 (9th Cir. 2008); Golden Gate Pharmacy Serv. v. Pfizer, Inc., 433
      4 F. App’x 598, 598 (9th Cir. 2011). While a plaintiff need not plead a relevant market
      5 with “specificity,” a complaint may be dismissed if its market allegations are
      6 “facially unsustainable.” Hicks v. PGA Tour, Inc., 897 F.3d 1109, 1120 (9th Cir.
      7 2018) (citation omitted); see also Rick-Mik Enters., 532 F.3d at 973 (allegations of
      8 market power must be pled with specificity). CREXi’s market allegations are too
      9 vague and conclusory to state a claim.
    10                 1.      CREXi Does Not Allege A Plausible Geographic Market
    11          CREXi’s geographic market allegations are “facially unsustainable” and
    12 require dismissal.        A relevant market for an antitrust claim must include a
    13 “geographic market,” which is the “‘area of effective competition’ where buyers can
    14 turn for alternative sources of supply.” Tanaka v. Univ. of S. Cal., 252 F.3d 1059,
    15 1063 (9th Cir. 2001) (citation omitted). CREXi alleges that the geographic market
    16 for each of its antitrust claims is “individual metropolitan areas” because customers
    17 supposedly “do not regard locations in different metropolitan areas as reasonable
    18 substitutes.” Countercls. ¶¶ 47, 49. CREXi, however, does not identify any specific
    19 metropolitan area in which it contends CoStar has market power, nor does it even
    20 define what it considers to be a “metropolitan area.” Id. It is entirely unclear what
    21 “metropolitan areas” CREXi alleges CoStar has unlawfully monopolized. Is CREXi
    22 alleging that CoStar has unlawfully monopolized all “metropolitan areas”
    23 (presumably in the U.S.)? Or just some, and if so, which ones? CREXi’s geographic
    24 market allegations are thus, on their face, too vague to support any antitrust claim.10
    25 See Tanaka, 252 F.3d at 1063 (affirming dismissal where plaintiff failed to plausibly
    26
         10
    27            CREXi suggests that its geographic market allegations suffice because the FTC
         supposedly used the same geographic market definition when it sued to enjoin CoStar’s acquisition
    28   of RentPath. The FTC, however, identified 49 specific metropolitan areas. CREXi, in comparison,
         has not identified a single metropolitan area where it contends CoStar has market power.
                                                          15                         CASE NO. 2:20-cv-8819-CBM-AS
                                                                      COSTAR’S NOTICE OF MOTION AND MOTION TO
                                                                  DISMISS CREXi’S COUNTERCLAIMS; MEMORANDUM
                                                                                     OF POINTS AND AUTHORITIES
Case 2:20-cv-08819-CBM-AS Document 82 Filed 08/13/21 Page 28 of 41 Page ID #:24677


      1 allege a relevant geographic market); Chase Mfg., Inc. v. Johns Mansville Corp.,
      2 2019 WL 2866700, at *6 (D. Colo. July 3, 2019) (dismissing complaint where “the
      3 geographic market [was] vaguely alleged to be ‘many major metropolitan areas’”).
      4
                     2.     CREXi Also Has Not Plausibly Alleged That CoStar Has
      5                     Market Power
      6        CREXi’s allegations regarding CoStar’s supposed market power are also
      7 deficient.   “Market power is the ability (1) to price substantially above the
      8 competitive level and (2) to persist in doing so for a significant period without
      9 erosion by new entry or expansion.’” Top Rank, Inc. v. Haymon, 2015 WL 9948936,
    10 at *7 (C.D. Cal. Oct. 16, 2015) (citation omitted). A plaintiff may plead market
    11 power by either (1) direct evidence, i.e., “evidence of restricted output and
    12 supracompetitive prices,” or (2) “circumstantial evidence pertaining to the structure
    13 of the market.” Rebel Oil Co. v. Atl. Richfield Co., 51 F.3d 1421, 1434 (9th Cir.
    14 1995). CREXi alleges neither.
    15         CREXi has not pled any “direct” evidence of CoStar’s supposed market power
    16 in the relevant product markets. CREXi nowhere alleges that CoStar has the ability
    17 to raise prices above competitive levels by reducing output or that its allegedly
    18 anticompetitive conduct has caused a reduction in output in the internet CRE listing,
    19 information, or auction services markets. Nor does CREXi allege that CoStar has
    20 the ability to charge supracompetitive prices for a sustained period of time in any of
    21 those markets. CREXi complains about price increases for CoStar’s information
    22 and listing services products in 2012 after CoStar acquired LoopNet, Countercls.
    23 ¶ 97, and another supposed price increase for an unidentified product in 2017 after
    24 Xceligent’s demise, id. ¶ 99, but its counterclaims say nothing about CoStar’s
    25 pricing since 2017. Nor does CREXi allege anywhere that CoStar can persistently
    26 charge supracompetitive prices for any (let alone each) of its listing, information,
    27 and auction services without the fear of new entry into the market.
    28         CREXi also has not plausibly alleged market power based on circumstantial
                                                   16                        CASE NO. 2:20-cv-8819-CBM-AS
                                                              COSTAR’S NOTICE OF MOTION AND MOTION TO
                                                          DISMISS CREXi’S COUNTERCLAIMS; MEMORANDUM
                                                                             OF POINTS AND AUTHORITIES
Case 2:20-cv-08819-CBM-AS Document 82 Filed 08/13/21 Page 29 of 41 Page ID #:24678


      1 evidence either. CREXi must allege that CoStar has market power in the relevant
      2 geographic market for its claims—“individual metropolitan areas”—but the best it
      3 can muster is that “on information and belief, CoStar is dominant in an
      4 overwhelming majority of metropolitan areas.” Id. ¶ 105; see also Rick-Mik Enters.,
      5 532 F.3d at 972–73 (plaintiff must plead market power in the relevant market for its
      6 allegations); Top Rank, 2015 WL 9948936, at *8 (same). CREXi’s allegations are
      7 insufficient to plead market power. It is not clear in which metropolitan areas
      8 CREXi alleges CoStar has market power or what it means that CoStar is “dominant”
      9 in the “majority” of an unspecified number of unidentified metropolitan areas.
    10 Conclusory allegations of market power, like CREXi’s, are insufficient to state an
    11 antitrust claim. See Hip Hop Bev., 733 F. App’x at 382 (allegation that defendant
    12 “controlled a ‘major percent’ of the energy-drink market” was insufficient to plead
    13 market power); Chase Mfg., Inc. v. Johns Manville Corp., 2020 WL 1433504, at *7
    14 (D. Colo. Mar. 23, 2020) (finding insufficient plaintiff’s allegations that defendant
    15 is “believed to have at least a 60% share of the . . . market” (emphasis omitted)).11
    16          Finally, CREXi cannot allege market power by relying on complaints of
    17 unidentified customers. See Countercls. ¶ 95. The opinions of disgruntled CoStar
    18 customers—even assuming they were customers and that CREXi has accurately
    19 quoted them—are not credible or circumstantial evidence of market power. See
    20 Rebel Oil, 51 F.3d at 1434; see also FTC v. Facebook, Inc., 2021 WL 2643627, at
    21 *14 (D.D.C. June 28, 2021) (“[W]hatever it may mean to the public, ‘monopoly
    22 power’ is a term of art under federal law with a precise economic meaning . . . .”).
    23 Because CREXi has not pled that CoStar has market power in any relevant market,
    24
    25   11
                  While CREXi also alleges that, “[o]n information and belief,” CoStar’s “current share of”
         the listing services, information, and auction services markets is 90%, 90%, and 95%, respectively,
    26   Countercls. ¶¶ 102-04, those allegations too are insufficient. Not only does CREXi provide no
         information as to how it calculated CoStar’s supposed share of the listing, information, or auction
    27   services markets, it is silent as to the geographic area in which CoStar supposedly has those market
    28   shares. See Top Rank, 2015 WL 9948936, at *8 (dismissing complaint where plaintiff failed to
         allege market power in the relevant market or explain how it calculated market shares).
                                                           17                          CASE NO. 2:20-cv-8819-CBM-AS
                                                                        COSTAR’S NOTICE OF MOTION AND MOTION TO
                                                                    DISMISS CREXi’S COUNTERCLAIMS; MEMORANDUM
                                                                                       OF POINTS AND AUTHORITIES
Case 2:20-cv-08819-CBM-AS Document 82 Filed 08/13/21 Page 30 of 41 Page ID #:24679


      1 the Court should dismiss its antitrust claims.
      2 II.     THE COURT SHOULD DISMISS CREXI’S REMAINING CLAIMS
      3         CREXi’s remaining claims for false advertising (Counts X and XI), trademark
      4 infringement (Count IX), unfair and unlawful competition (Counts XII and XIII) and
      5 declaratory judgment (Count XIV) fare no better and should likewise be dismissed.
      6
                A.    CREXi Has Not Pled A Claim For False Advertising Or
      7               Trademark Infringement
      8         CREXi’s allegations regarding the commonplace, competitive practice of
      9 purchasing a rival’s name as a keyword search also form the basis of its false
    10 advertising and trademark infringement claims. These claims fail out of the gate.
    11
                      1.    CREXi Fails To State Claim For False Advertising Under
    12                      The Lanham Act
    13          CREXi fails to state a plausible false advertising claim under the Lanham Act
    14 for three reasons.
    15          First, CREXi fails to allege that CoStar made any false statement about
    16 CoStar’s or CREXi’s products. Instead, CREXi alleges that CoStar’s ads appear on
    17 Google (clearly labeled as an “Ad”) in response to consumers’ use of “CREXi” as a
    18 keyword search. Countercls. ¶ 201. An “advertisement, expressly labeled as an
    19 ‘Ad,’ that appears after an individual consumer inputs search terms and clicks to
    20 ‘search,’” simply is not “a false statement that can be attributed to” CoStar. Novation
    21 Ventures, LLC v. J.G. Wentworth Co., 2015 WL 12765467, at *7 (C.D. Cal. Sept.
    22 21, 2015) (dismissing false advertising claim based on defendants’ practice of
    23 paying Google “to display certain advertisements in response to a consumer’s
    24 question as typed into the internet search engine”).
    25          Second, CREXi fails to allege that CoStar’s ads actually deceived or had the
    26 tendency to deceive a “substantial segment” of its audience. See id. (citing Wells
    27 Fargo & Co. v. ABD Ins. & Fin. Servs., Inc., 758 F.3d 1069, 1071 (9th Cir. 2014)).
    28 CREXi alleges that CoStar’s ads “mislead consumers into believing that the products
                                                    18                        CASE NO. 2:20-cv-8819-CBM-AS
                                                               COSTAR’S NOTICE OF MOTION AND MOTION TO
                                                           DISMISS CREXi’S COUNTERCLAIMS; MEMORANDUM
                                                                              OF POINTS AND AUTHORITIES
Case 2:20-cv-08819-CBM-AS Document 82 Filed 08/13/21 Page 31 of 41 Page ID #:24680


      1 and services offered by CoStar are associated or affiliated with CREXi when in fact
      2 they are not.” Countercls. ¶ 326. But the Ninth Circuit has explicitly recognized
      3 that internet consumers “fully expect to find some sites that aren’t what they imagine
      4 based on a glance at the domain name or search engine summary,” and “don’t form
      5 any firm expectations until they’ve seen the landing page—if then.” Toyota Motor
      6 Sales, U.S.A., Inc. v. Tabari, 610 F.3d 1171, 1179 (9th Cir. 2010). Here, the ads that
      7 CREXi challenges prominently display the domain name “ten-x.com” among other
      8 references to CoStar’s Ten-X product. Countercls. ¶¶ 200-03. Moreover, CREXi
      9 alleges that CoStar’s ads are labeled as “Ad[s],” which “makes [CREXi’s] claim of
    10 deception even less plausible.” Novation Ventures, 2015 WL 12765467, at *7.
    11          Third, CREXi fails to allege how CoStar’s ads are “likely to influence the
    12 purchasing decision” of any consumer. R & A Synergy LLC v. Spanx, Inc., 2019 WL
    13 4390564, at *12 (C.D. Cal. May 1, 2019) (dismissing false advertising claim for
    14 failure to allege materiality of the deception). CREXi alleges only that CoStar’s ads
    15 create a momentary “initial association” with CREXi, Countercls. ¶ 203; CREXi
    16 does not allege that consumers are likely to be confused that Ten-X is affiliated with
    17 CREXi at the time of purchase (i.e., after clicking on the Ten-X URL). Lacking
    18 allegations that CoStar’s ads influenced consumers’ purchasing decisions, CREXi’s
    19 Lanham Act claim fails. See, e.g., Manley Toys, Ltd. v. FNF Enters., Inc., 2010 WL
    20 11519536, at *4 (C.D. Cal. Aug. 2, 2010) (dismissing false advertising claim for
    21 failure to allege how the false statement influenced purchasing decisions).
    22
                      2.     CREXi Fails To State A Claim For False Advertising Under
    23                       California Law
    24          For similar reasons, CREXi’s false advertising claim under California
    25 Business & Professional Code § 17500 must also be dismissed. See Royal Holdings
    26 Techs. Corp. v. FLIR Sys., Inc., 2021 WL 945246, at *6 (C.D. Cal. Jan. 8, 2021)
    27 (analyzing Plaintiff’s Lanham Act and FAL claims together because the two legal
    28 theories are “substantially congruent” (citation omitted)). That claim is governed by
                                                    19                        CASE NO. 2:20-cv-8819-CBM-AS
                                                               COSTAR’S NOTICE OF MOTION AND MOTION TO
                                                           DISMISS CREXi’S COUNTERCLAIMS; MEMORANDUM
                                                                              OF POINTS AND AUTHORITIES
Case 2:20-cv-08819-CBM-AS Document 82 Filed 08/13/21 Page 32 of 41 Page ID #:24681


      1 the “reasonable consumer” test. Ebner v. Fresh, Inc., 838 F.3d 958, 965 (9th Cir.
      2 2016). To satisfy that standard, CREXi must plausibly allege facts from which the
      3 Court can infer “that a significant portion of the general consuming public or of
      4 targeted consumers, acting reasonably in the circumstances, could be misled.” Id.
      5 (citation omitted). CREXi’s allegations support the opposite inference.
      6        CREXi’s allegations focus on Google, a popular search engine that separates
      7 ads and search results for its consumers.          See Google, Rigorous Testing,
      8 https://www.google.com/search/howsearchworks/mission/users/ (last visited Aug.
      9 12, 2021) (“When you use Google Search, ads may appear with your search results.
    10 We think it’s important to be transparent about the difference between paid and
    11 organic results, which is why ads are clearly labeled, so they are easy to distinguish
    12 from the rest of the page.”). Indeed, CREXi alleges that CoStar’s Ten-X ads are
    13 unmistakably labeled as “Ad[s],” and appear next to a conspicuously placed option
    14 on the side of the screen where users can “see about the actual search results for”
    15 CREXi. Countercls. ¶¶ 195, 202. Under these circumstances, CREXi has not
    16 plausibly alleged any facts supporting its bare conclusion that Ten-X ads “mislead
    17 consumers into believing that the products and services offered by CoStar are
    18 associated or affiliated with CREXi.” Id. ¶¶ 326, 331.
    19               3.     CREXi Fails To Plead A Trademark Infringement Claim
    20         CREXi’s trademark infringement claim suffers from similar fatal deficiencies.
    21 Consumer confusion is the crux of a trademark infringement claim and CREXi has
    22 not plausibly alleged any consumer confusion stemming from CoStar’s alleged use
    23 of CREXi’s trademark in the header of its Google AdWord ads. See Murray v. Cable
    24 Nat. Broad. Co., 86 F.3d 858, 860 (9th Cir. 1996) (a district court may determine
    25 likelihood of confusion as a matter of law at the dismissal stage).
    26         Like its false advertising claims, CREXi alleges that CoStar’s purchase of
    27 CREXi as a Google AdWord creates a likelihood of initial interest confusion because
    28 when a customer searches Google for “CREXi,” the results page displays ads that
                                                   20                        CASE NO. 2:20-cv-8819-CBM-AS
                                                              COSTAR’S NOTICE OF MOTION AND MOTION TO
                                                          DISMISS CREXi’S COUNTERCLAIMS; MEMORANDUM
                                                                             OF POINTS AND AUTHORITIES
Case 2:20-cv-08819-CBM-AS Document 82 Filed 08/13/21 Page 33 of 41 Page ID #:24682


      1 link to URLs for Ten-X’s website. Countercls. ¶¶ 15, 198-204. But CREXi does
      2 not allege that a single consumer was actually confused by a Ten-X ad, or confused
      3 after they clicked on a Ten-X ad and landed on Ten-X’s website.                            CREXi’s
      4 allegations amount to a sophisticated consumer of CRE auction services (looking to
      5 sell or acquire properties that range from hundreds of thousands to millions of
      6 dollars) potentially being confused momentarily before realizing that they were
      7 going to click or had clicked on the Ten-X website. Even if they were plausible,
      8 CREXi’s allegations would be—at best—about potential initial confusion that does
      9 not result in a diverted sale, and thus should provide no basis for relief. See Playboy
    10 Enters., Inc. v. Netscape Commc’ns Corp., 354 F.3d 1020, 1025 (9th Cir. 2004)
    11 (“Initial interest confusion is customer confusion that creates initial interest in a
    12 competitor’s product” that is dispelled before a sale occurs.); Blue Water
    13 Innovations, LLC v. Fettig, 2019 WL 1904589, at *3 (S.D. Fla. Mar. 8, 2019)
    14 (dismissing Lanham Act claim because “initial interest confusion” provides no basis
    15 for relief “where the confusion is remedied prior to sale” (citations omitted)).
    16          Moreover, in the context of keyword advertising, the consumer confusion
    17 inquiry “ultimately turn[s] on what the consumer saw on the screen and reasonably
    18 believed, given the context.” Network Automation, Inc. v. Advanced Sys. Concepts,
    19 Inc., 638 F.3d 1137, 1153 (9th Cir. 2011). For this purpose, the Ninth Circuit has
    20 “eschewed the Sleekcraft test12 in favor of a more streamlined inquiry: ‘(1) Who is
    21 the relevant reasonable consumer?; and (2) What would he reasonably believe based
    22 on what he saw on the screen?’” Guardian Pool Fence Sys. Inc. v. Sunwest Indus.,
    23 Inc., 2017 WL 2931413, at *5 (C.D. Cal. June 1, 2017) (quoting Multi Time Mach.,
    24 Inc. v. Amazon.com, Inc., 804 F.3d 930, 937 (9th Cir. 2015)). With respect to the
    25 first question, “[t]he nature of the goods and the type of consumer is highly relevant
    26   12
                Traditionally, courts in the Ninth Circuit use the eight-factor Sleekcraft test to analyze
    27 consumer confusion in trademark infringement cases. See AMF, Inc. v. Sleekcraft Boats, 599 F.2d
         341, 348-49 (9th Cir. 1979). However, the Sleekcraft factors are not particularly apt here, because
    28 CREXi does not allege that CoStar’s trademarks are sufficiently similar to CREXi’s trademarks to
         cause confusion (the issue the Sleekcraft factors were originally developed to analyze).
                                                           21                         CASE NO. 2:20-cv-8819-CBM-AS
                                                                       COSTAR’S NOTICE OF MOTION AND MOTION TO
                                                                   DISMISS CREXi’S COUNTERCLAIMS; MEMORANDUM
                                                                                      OF POINTS AND AUTHORITIES
Case 2:20-cv-08819-CBM-AS Document 82 Filed 08/13/21 Page 34 of 41 Page ID #:24683


      1 to determining the likelihood of confusion in the keyword advertising context.”
      2 Network Automation, 638 F.3d at 1152. CREXi alleges that the “goods” are internet
      3 CRE listing, information, and auction services, powered by “large, proprietary
      4 databases of valuable [CRE] information,” which facilitate billions in sale
      5 transactions of commercial buildings and office space. See, e.g., Countercls. ¶ 39
      6 (alleging that there is “substantial willingness-to-pay on the part of CRE brokers”).
      7 The alleged “consumers” are sophisticated professionals, including “[m]ost
      8 commercial real estate brokers” who use multiple “internet CRE listing services.”
      9 Id. ¶ 33; see also id. ¶ 39 (“Many commercial real estate brokers subscribe to internet
    10 CRE information services”); FAC ¶ 53 (CoStar customers comprise “investors,”
    11 “lenders,” “developers,” “brokerage firms,” “corporations,” “banks,” and “valuation
    12 professionals”). And, CREXi’s allegations of trademark infringement are expressly
    13 limited to ads for Ten-X’s auction services, which are alleged to facilitate the “sale
    14 of commercial buildings and office space,” Countercls. ¶ 42, and are “distinguished”
    15 by the “speed with which sales transactions can be finalized.” See id. ¶ 44.
    16          Taking CREXi’s allegations regarding the nature of the goods and the type of
    17 consumer as true, there is no plausible likelihood of confusion. See e.g., Toyota, 610
    18 F.3d at 1179 (“reasonable, prudent and experienced internet consumers” expect to
    19 explore web results “by trial and error” and are “ready to hit the back button” when
    20 they do not get the results they want); Au-Tomotive Gold, Inc. v. Volkswagen of Am.,
    21 Inc., 457 F.3d 1062, 1076 (9th Cir. 2006) (“Confusion is less likely where buyers
    22 exercise care and precision in their purchases, such as for expensive or sophisticated
    23 items.”); Novation Ventures, LLC v. J.G. Wentworth Co., 2016 WL 6821110, at *8
    24 (C.D. Cal. Feb. 1, 2016) (“[T]he Court finds that there is no plausible likelihood of
    25 deception where the relevant reasonable consumer would exercise a heightened
    26 degree of care and precision, where the purchase price of the transactions range from
    27 $5,000 to $1,000,000 . . . .”), aff’d, 711 F. App’x 402 (9th Cir. 2017).
    28
                                                    22                         CASE NO. 2:20-cv-8819-CBM-AS
                                                                COSTAR’S NOTICE OF MOTION AND MOTION TO
                                                            DISMISS CREXi’S COUNTERCLAIMS; MEMORANDUM
                                                                               OF POINTS AND AUTHORITIES
Case 2:20-cv-08819-CBM-AS Document 82 Filed 08/13/21 Page 35 of 41 Page ID #:24684


      1        Turning to the second question, “the labeling and appearance of the
      2 advertisements and the surrounding context on the screen displaying the results
      3 page” is of particular importance in cases involving internet search terms. Multi
      4 Time Mach., 804 F.3d at 936 (quoting Network Automation, 638 F.3d at 1154). The
      5 alleged screenshots in CREXi’s counterclaims make clear that what the reasonable
      6 consumer “saw on the screen” is insufficient as a matter of law to plead consumer
      7 confusion. For example, CREXi alleges that a search for “crexi” on Google yielded
      8 an ad with the line “Commercial Buildings for Sale – Crexi.” Countercls. ¶ 200.
      9 But as shown in the screenshot in Paragraph 200, the single insertion of the AdWord
    10 “Crexi” is in the middle of a clearly labeled ad for Ten-X. The first line of the ad
    11 reads: “Ad - www.ten-x.com/cre_listings” (bold emphasis in original). A consumer
    12 reviewing these search results would see “Ad” and the Ten-X URL before anything
    13 else, reducing the chance that even any initial interest confusion could occur (let
    14 alone further confusion). See Playboy Enters., 354 F.3d at 1030 & n.43 (finding that
    15 “a situation in which a banner advertisement clearly identifies its source with its
    16 sponsor’s name . . . might eliminate the likelihood of initial interest confusion”).
    17         The remainder of the challenged ad only reinforces that the ad is for Ten-X,
    18 not CREXi. Countercls. ¶ 200 (alleging that the remainder of the ad reads: “Find
    19 Commercial Real Estate With Ten-X, The Most Powerful Place to Buy & Sell
    20 Nationwide” / “Search CRE Properties - How Ten-X Works - About Ten-X
    21 Commercial.”). The mere mention of “CREXi” in a single line in an otherwise
    22 clearly labeled ad for Ten-X simply is not enough to plead customer confusion. See
    23 Karl Storz Imaging, Inc. v. Pointe Conception Med., Inc., 2011 WL 13195980, at
    24 *19-20 (C.D. Cal. Aug. 1, 2011) (a clearly labeled ad that is segregated from
    25 objective results and “lists a URL that does not use the trademark” is not likely to
    26 cause “even initial interest confusion”).
    27         CREXi’s second alleged example fares no better. In Paragraph 202, CREXi
    28 alleges that a search for “crexi california” on Google yielded a CoStar ad with the
                                                    23                        CASE NO. 2:20-cv-8819-CBM-AS
                                                               COSTAR’S NOTICE OF MOTION AND MOTION TO
                                                           DISMISS CREXi’S COUNTERCLAIMS; MEMORANDUM
                                                                              OF POINTS AND AUTHORITIES
Case 2:20-cv-08819-CBM-AS Document 82 Filed 08/13/21 Page 36 of 41 Page ID #:24685


      1 line “Commercial Buildings For Sale – Crexi – Ten-X.com.” Countercls. ¶ 202.
      2 Here, not only does the word “Crexi” immediately precede the domain name “Ten-
      3 X.com,” but the single challenged line also appears in the middle of an otherwise
      4 clearly labeled advertisement for Ten-X, directly below the “Ad” header with the
      5 Ten-X URL “www.ten-x.com/cre_listings” prominently displayed, and is followed
      6 by three more lines of text describing Ten-X, not CREXi. Id. Moreover, as
      7 explained above, CREXi pleads that this distinctly labeled ad appears next to a
      8 conspicuously placed option on the side of the screen where users can see the actual
      9 search results for “CREXi.”       Id.   On these allegations, CREXi cannot plead
    10 consumer confusion. See Sen v. Amazon.com, Inc., 2020 WL 4582678, at *6 (S.D.
    11 Cal. Aug. 10, 2020) (segregation of ad results and search results along with the clear
    12 labeling of an ad is sufficient to negate confusion), appeal filed, No. 20-55857 (9th
    13 Cir. Aug. 20, 2020); AK Metals, LLC v. Norman Indus. Materials, Inc., 2013 WL
    14 417323, at *5-6 (S.D. Cal. Jan. 31, 2013) (declining to issue preliminary injunction
    15 and finding that plaintiff had not met its burden to show likelihood of consumer
    16 confusion despite the plaintiff’s trademark appearing in the header of defendant’s
    17 ad). Because CREXi has not pled facts plausibly alleging a likelihood of consumer
    18 confusion, its trademark infringement claim cannot survive.
    19         B.     CREXi’s Unfair And Unlawful Competition Claims Fail Too
    20         CREXi’s twelfth and thirteenth causes of action are claims of unfair and
    21 unlawful competition under California Business & Professional Code § 17200,
    22 which are derivative of its Sherman, Cartwright, and Lanham Act claims. These
    23 claims fail for the same reasons the antitrust, false advertising, and trademark claims
    24 fail. See, e.g., Aleksick v. 7-Eleven, Inc., 205 Cal. App. 4th 1176, 1185 (2012)
    25 (“When a statutory claim fails, a derivative UCL claim also fails”); ThermoLife Int’l,
    26 LLC v. Am. Fitness Wholesalers, L.L.C., 831 F. App’x 325, 326 (9th Cir. 2020)
    27 (“[B]ecause ThermoLife’s common-law unfair-competition and Lanham Act claims
    28 are substantially similar, ThermoLife’s unfair-competition claim fails for the same
                                                    24                        CASE NO. 2:20-cv-8819-CBM-AS
                                                               COSTAR’S NOTICE OF MOTION AND MOTION TO
                                                           DISMISS CREXi’S COUNTERCLAIMS; MEMORANDUM
                                                                              OF POINTS AND AUTHORITIES
Case 2:20-cv-08819-CBM-AS Document 82 Filed 08/13/21 Page 37 of 41 Page ID #:24686


      1 reasons.”); Cullen v. Netflix, Inc., 880 F. Supp. 2d 1017, 1028 (N.D. Cal. 2012) (“If
      2 the [underlying] claim is dismissed, then there is no ‘unlawful’ act upon which to
      3 base the derivative [UCL] claim.” (citation omitted)).
      4        C.     CREXi Is Not Entitled To A Declaratory Judgement
      5        Last, CREXi’s request for a declaratory judgment that it is lawful for it to
      6 access CoStar’s websites, Countercls. ¶¶ 347-50, should be dismissed.
      7        First, CREXi’s claim for declaratory relief is inappropriate because it simply
      8 repackages legal issues that CREXi and CoStar are already litigating. The purpose
      9 of a declaratory judgment is to “relieve potential defendants from the Damoclean
    10 threat of impending litigation which a harassing adversary might brandish, while
    11 initiating suit at his leisure—or never.” Englewood Lending Inc. v. G & G Coachella
    12 Invs., LLC, 651 F. Supp. 2d 1141, 1145 (C.D. Cal. 2009) (citation omitted). Here,
    13 CoStar has already sued CREXi for impermissibly accessing and copying the
    14 content of its websites and thus whether CoStar may block CREXi’s access is
    15 squarely before the Court.        See id. (dismissing counterclaim for declaratory
    16 judgment where it overlapped with relief sought in plaintiff’s complaint).
    17         Second, this Court has already rejected CREXi’s position that it is entitled to
    18 access CoStar’s websites. In moving to dismiss, CREXi argued that CoStar’s efforts
    19 to block it from accessing its websites were “contrary to Ninth Circuit precedent.”
    20 Dkt. 55-1 at 9. The Court, however, denied CREXi’s motion. Dkt. 71 at 7. As
    21 discussed above, the Court reached the correct conclusion because CoStar has no
    22 legal obligation to allow CREXi to access its products. CREXi’s request for a
    23 declaratory judgment thus also fails because as a matter of law CREXi is not entitled
    24 to the relief that it seeks.
    25                                    CONCLUSION
    26         For the foregoing reasons, CoStar requests that the Court dismiss each of
    27 CREXi’s counterclaims with prejudice.
    28
                                                   25                         CASE NO. 2:20-cv-8819-CBM-AS
                                                               COSTAR’S NOTICE OF MOTION AND MOTION TO
                                                           DISMISS CREXi’S COUNTERCLAIMS; MEMORANDUM
                                                                              OF POINTS AND AUTHORITIES
Case 2:20-cv-08819-CBM-AS Document 82 Filed 08/13/21 Page 38 of 41 Page ID #:24687


      1
                                            Respectfully submitted,
      2
          Dated: August 13, 2021            LATHAM & WATKINS LLP
      3
                                            By: /s/ Jessica Stebbins Bina
      4                                        (Bar No. 248485)
      5                                         Elyse M. Greenwald
                                                (Bar No. 268050)
      6                                         10250 Constellation Boulevard
                                                Suite 1100
      7                                         Los Angeles, CA 90067
                                                Tel: 424.653.5525
      8                                         Fax: 424.653.5501
                                                Email: jessica.stebbinsbina@lw.com
      9                                                elyse.greenwald@lw.com
    10                                          Belinda S Lee (Bar. No. 199635)
                                                505 Montgomery Street
    11                                          Suite 2000
                                                San Francisco, CA 94111
    12                                          Tel: 415.391.0600
                                                Fax: 415.395.8095
    13                                          Email: belinda.lee@lw.com
    14                                          Nicholas J. Boyle
                                                (admitted pro hac vice)
    15                                          Sarah A. Tomkowiak
                                                (admitted pro hac vice)
    16                                          555 Eleventh Street, NW
                                                Suite 1000
    17                                          Washington, D.C. 20004
                                                Tel: 202.637.2200
    18                                          Fax: 202.637.2201
                                                Email: nicholas.boyle@lw.com
    19                                                 sarah.tomkowiak@lw.com
    20
                                            Counsel for CoStar Group, Inc., and
    21                                      CoStar Realty Information, Inc.
    22
    23
    24
    25
    26
    27
    28
                                               26                       CASE NO. 2:20-cv-8819-CBM-AS
                                                         COSTAR’S NOTICE OF MOTION AND MOTION TO
                                                     DISMISS CREXi’S COUNTERCLAIMS; MEMORANDUM
                                                                        OF POINTS AND AUTHORITIES
Case 2:20-cv-08819-CBM-AS Document 82 Filed 08/13/21 Page 39 of 41 Page ID #:24688




                         EXHIBIT A
Case 2:20-cv-08819-CBM-AS Document 82 Filed 08/13/21 Page 40 of 41 Page ID #:24689




  Relevant      Alleged Exclusionary                   Relevant Allegations                        Relevant
  Market              Conduct                                                                       Claims

Internet CRE   Terms of Use Prohibit    “CoStar conditions access to its CoStar, LoopNet, and   Claims 2 and 5
Information    Competitors from         Ten-X websites, as well as brokers’ LoopLink-hosted
Services       Accessing CoStar’s       websites, on users’ agreement not to compete with
Market         Products                 CoStar. CoStar also purports to forbid competitors—
                                        and only competitors—from accessing broker-
                                        provided and broker-owned publicly available listing
                                        information available on those websites.” Countercls.
                                        ¶ 136 (emphasis added).

Internet CRE   Terms of Use Prohibit    “CoStar conditions access to its CoStar, LoopNet, and   Claims 3 and 6
Auction        Competitors from         Ten-X websites, as well as brokers’ LoopLink-hosted
Services       Accessing CoStar’s       websites, on users’ agreement not to compete with
Market         Products                 CoStar. CoStar also purports to forbid competitors—
                                        and only competitors—from accessing broker-
                                        provided and broker-owned publicly available listing
                                        information available on those websites.” Countercls.
                                        ¶ 136 (emphasis added).

               Trademark Infringement   “CoStar’s use of the CREXI® mark in its                 Claims 3 and 6
               through Google           advertisements for Ten-X constitutes anticompetitive
               AdWords                  conduct and willful and intentional trademark
                                        infringement, which has damaged CREXi.”
                                        Countercls. ¶ 206 (emphasis added); see also id.
                                        ¶¶ 200-04 (all allegedly infringing ads relate to
                                        CoStar’s auction services platform, Ten-X).

Internet CRE   Terms of Use Prohibit    “CoStar conditions access to its CoStar, LoopNet, and   Claims 1 and 4
Listing        Competitors from         Ten-X websites, as well as brokers’ LoopLink-hosted
Services       Accessing CoStar’s       websites, on users’ agreement not to compete with
Market         Products                 CoStar. CoStar also purports to forbid competitors—
                                        and only competitors—from accessing broker-
                                        provided and broker-owned publicly available listing
                                        information available on those websites.” Countercls.
                                        ¶ 136 (emphasis added).
Case 2:20-cv-08819-CBM-AS Document 82 Filed 08/13/21 Page 41 of 41 Page ID #:24690




 Relevant    Alleged Exclusionary                    Relevant Allegations                        Relevant
 Market            Conduct                                                                        Claims

            CoStar Uses              “CoStar employs technological measures to                Claims 1 and 4
            “Technological           selectively block competitors from accessing the
            Measures” to Block       publicly available listing information hosted on
            Competitors from         CoStar and LoopNet’s websites, and brokers’
            Accessing Its Products   LoopLink-hosted websites.” Countercls. ¶ 137
                                     (emphases added).

                                     “CoStar employs an ‘abuse monitor,’ whose job is to
                                     ferret out whether internet protocol (IP) addresses
                                     associated with CoStar’s competitors are accessing
                                     CoStar and LoopNet.” Id. ¶ 138 (emphasis added).

                                     “CoStar and LoopNet also use ‘firewalls’ to
                                     permanently block IP addresses associated with
                                     competitors from accessing CoStar and
                                     LoopNet . . . .” Id. ¶ 139 (emphasis added) (footnote
                                     omitted).

            “Exclusionary” or        “The LoopNet Terms then prohibit brokers from using      Claims 1, 4, 7
            “Exclusive” Agreements   that same information—again, information owned and       and 8
            with Brokers             provided to CoStar by brokers—with any CoStar
                                     competitor.” Countercls. ¶ 186 (emphasis added).

            Inaccurately Modifying   “The LoopNet Terms grant CoStar the unilateral right     Claims 1 and 4
            Broker Listing           to ‘modify’ brokers’ listings by ‘add[ing] digital
            Information and Adding   watermarks to certain parts of your property listing,
            Watermark to Broker      including, without limitation, adding digital
            Provided Images          watermarks to your photographs.” Countercls. ¶ 172
                                     (alteration in original) (emphasis added) (citation
                                     omitted).

                                     “Nothing in the LoopNet Terms require CoStar to
                                     notify brokers when, or explain how, LoopNet has
                                     modified their listings or watermarked their photos
                                     before doing so.” Id. ¶ 174 (emphases added).

                                     “[A]fter unilaterally altering brokers’ listings and
                                     falsely claiming copyright ownership over brokers’
                                     photographs by adding CoStar’s watermark, CoStar
                                     simply declares the information ‘proprietary to
                                     LoopNet’ . . . .” Id. ¶ 176 (emphasis added); see also
                                     id. ¶¶ 180-83 (alleging that CoStar added its name to
                                     photographs that brokers uploaded to LoopNet).




                                                2
